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                                           Hearing Date: April 16, 2019, at 10:00 a.m. (prevailing Eastern Time)
                                        Objection Deadline: April 9, 2019, at 4:00 p.m. (prevailing Eastern Time)

    Stephen E. Hessler, P.C.                                        James H.M. Sprayregen, P.C.
    Marc Kieselstein, P.C.                                          Ross M. Kwasteniet, P.C. (admitted pro hac vice)
    Cristine Pirro Schwarzman                                       Brad Weiland (admitted pro hac vice)
    KIRKLAND & ELLIS LLP                                            John R. Luze (admitted pro hac vice)
    KIRKLAND & ELLIS INTERNATIONAL LLP                              KIRKLAND & ELLIS LLP
    601 Lexington Avenue                                            KIRKLAND & ELLIS INTERNATIONAL LLP
    New York, New York 10022                                        300 North LaSalle Street
    Telephone:       (212) 446-4800                                 Chicago, Illinois 60654
    Facsimile:       (212) 446-4900                                 Telephone:      (312) 862-2000
                                                                    Facsimile:      (312) 862-2200

    Proposed Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )         Chapter 11
                                                                )
    WINDSTREAM HOLDINGS, INC., et al.,1                         )         Case No. 19-22312 (RDD)
                                                                )
                                       Debtors.                 )         (Jointly Administered)
                                                                )

               NOTICE OF HEARING ON DEBTORS’ APPLICATION
             AUTHORIZING THE RETENTION AND EMPLOYMENT OF
       KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP
              AS ATTORNEYS FOR THE DEBTORS AND DEBTORS IN
         POSSESSION EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

             PLEASE TAKE NOTICE that on March 26, 2019, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the Debtors’ Application Authorizing the

Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as

Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date

(the “Application”).        A hearing (the “Hearing”) on the Application will be held before the



1     The last four digits of Debtor Windstream Holdings, Inc.’s tax identification number are 7717. Due to the large
      number of Debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of
      the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing
      agent at http://www.kccllc.net/windstream. The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 4001 North Rodney Parham Road, Little Rock, Arkansas 72212.
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Honorable Robert D. Drain, United States Bankruptcy Judge, United States Bankruptcy Court for

the Southern District of New York, at the United States Bankruptcy Court for the Southern District

of New York, 300 Quarropas Street, White Plains, New York 10601, on April 16, 2019, at 10:00

a.m. (prevailing Eastern Time).

       PLEASE TAKE FURTHER NOTICE that any responses or objections to the relief

requested in the Application shall:     (a) be in writing; (b) conform to the Federal Rules of

Bankruptcy Procedure, the Local Rules for the Southern District of New York, all General Orders

applicable to chapter 11 cases in the United States Bankruptcy Court for the Southern District of

New York, and the Interim Order Establishing Certain Notice, Case Management, and

Administrative Procedures [Docket No. 57] (the “Case Management Order”) approved by this

Court; (c) be filed electronically with this Court on the docket of In re Windstream Holdings, Inc.,

Case 19-22312 (RDD) by registered users of this Court’s electronic filing system and in

accordance with the General Order M-399 (which is available on this Court’s website at

http://www.nysb.uscourts.gov); and (d) be served so as to be actually received by April 9, 2019,

at 4:00 p.m., prevailing Eastern Time, by (i) the entities on the Master Service List (as defined

in the Case Management Order and available on the Debtors’ case website at

http://www.kccllc.net/windstream) and (ii) any person or entity with a particularized interest in the

subject matter of the Application.

       PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and served

with respect to the Application, the Debtors shall, on or after the Objection Deadline, submit to

this Court an order substantially in the form annexed as Exhibit A to the Application, which order

this Court may enter with no further notice or opportunity to be heard.




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        PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned

thereafter from time to time without further notice other than an announcement of the adjourned

date or dates at the Hearing. The Debtors will file an agenda before the Hearing, which may

modify or supplement the Application to be heard at the Hearing.

        PLEASE TAKE FURTHER NOTICE that a copy of the Application may be obtained

free of charge by visiting the website of Kurtzman Carson Consultants LLC at

http://www.kccllc.net/windstream. You may also obtain copies of any pleadings by visiting this

Court’s website at http://www.nysb.uscourts.gov in accordance with the procedures and fees set

forth therein.

Dated: March 26, 2019               /s/ Stephen E. Hessler
New York, New York                  Stephen E. Hessler, P.C.
                                    Marc Kieselstein, P.C.
                                    Cristine Pirro Schwarzman
                                    KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    601 Lexington Avenue
                                    New York, New York 10022
                                    Telephone:      (212) 446-4800
                                    Facsimile:      (212) 446-4900
                                    - and -
                                    James H.M. Sprayregen, P.C.
                                    Ross M. Kwasteniet, P.C. (admitted pro hac vice)
                                    Brad Weiland (admitted pro hac vice)
                                    John R. Luze (admitted pro hac vice)
                                    KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    300 North LaSalle Street
                                    Chicago, Illinois 60654
                                    Telephone:      (312) 862-2000
                                    Facsimile:      (312) 862-2200

                                    Proposed Counsel to the Debtors and Debtors in Possession




                                               3
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                                           Hearing Date: April 16, 2019, at 10:00 a.m. (prevailing Eastern Time)
                                        Objection Deadline: April 9, 2019, at 4:00 p.m. (prevailing Eastern Time)

    Stephen E. Hessler, P.C.                                        James H.M. Sprayregen, P.C.
    Marc Kieselstein, P.C.                                          Ross M. Kwasteniet, P.C. (admitted pro hac vice)
    Cristine Pirro Schwarzman                                       Brad Weiland (admitted pro hac vice)
    KIRKLAND & ELLIS LLP                                            John R. Luze (admitted pro hac vice)
    KIRKLAND & ELLIS INTERNATIONAL LLP                              KIRKLAND & ELLIS LLP
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    Telephone:       (212) 446-4800                                 Chicago, Illinois 60654
    Facsimile:       (212) 446-4900                                 Telephone:      (312) 862-2000
                                                                    Facsimile:      (312) 862-2200

    Proposed Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )         Chapter 11
                                                                )
    WINDSTREAM HOLDINGS, INC., et al.,1                         )         Case No. 19-22312 (RDD)
                                                                )
                                       Debtors.                 )         (Jointly Administered)
                                                                )

                       DEBTORS’ APPLICATION FOR ENTRY
                 OF AN ORDER AUTHORIZING THE RETENTION AND
         EMPLOYMENT OF KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
       INTERNATIONAL LLP AS ATTORNEYS FOR THE DEBTORS AND DEBTORS
         IN POSSESSION EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this application for entry of an order (the “Order”), substantially in the form attached hereto as

Exhibit A, authorizing the Debtors to retain and employ Kirkland & Ellis LLP and Kirkland &

Ellis International LLP (collectively, “Kirkland”) as their attorneys effective nunc pro tunc to the

Petition Date (as defined herein). In support of this application, the Debtors submit the declaration



1     The last four digits of Debtor Windstream Holdings, Inc.’s tax identification number are 7717. Due to the large
      number of Debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of
      the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing
      agent at http://www.kccllc.net/windstream. The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 4001 North Rodney Parham Road, Little Rock, Arkansas 72212.
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of Stephen E. Hessler, the president of Stephen E. Hessler, P.C., a partner of Kirkland & Ellis LLP,

and a partner of Kirkland & Ellis International LLP (the “Hessler Declaration”), which is attached

hereto as Exhibit B and the declaration of Kristi Moody, Executive Vice President, General

Counsel, and Corporate Secretary of Windstream Holdings, Inc., which is attached hereto as

Exhibit C (the “Moody Declaration”).         In further support of this application, the Debtors

respectfully state as follows.

                                       Jurisdiction and Venue

       1.      The United States Bankruptcy Court for the Southern District of New York

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter

is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Amended Standing

Order of Reference from the United States District Court for the Southern District of New York,

dated January 31, 2012. The Debtors confirm their consent to the entry of a final order by the

Court in connection with this application to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory bases for the relief requested herein are sections 327(a) and 330 of

title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Rules

2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rules 2014-1 and 2016-1 of the Local Bankruptcy Rules for the Southern District of New York

(the “Local Rules”).

                                            Background

       4.    The Debtors are a leading provider of advanced network communications and

technology solutions for businesses across the United States. The Debtors also offer broadband,

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entertainment and security solutions to consumers and small businesses primarily in rural areas in

18 states. Additionally, the Debtors supply core transport solutions on a local and long-haul fiber

network spanning approximately 150,000 miles and have over 11,000 employees.

        5.       On February 25, 2019 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. A detailed description of certain facts

and circumstances surrounding these chapter 11 cases is set forth in the Declaration of Tony

Thomas, Chief Executive Officer and President of Windstream Holdings, Inc., (I) in Support of

Debtors’ Chapter 11 Petitions and First Day Motions and (II) Pursuant to Local Bankruptcy Rule

1007-2 [Docket No. 27] (the “First Day Declaration”), filed on the Petition Date.

        6.     The Debtors’ chapter 11 cases have been consolidated for procedural purposes only

and are being jointly administered pursuant to Bankruptcy Rule 1015(b) [Docket No. 56]. The

Debtors continue to operate their business and manage their property as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On March 12, 2019, the United

States Trustee for the Southern District of New York appointed an official committee of unsecured

creditors pursuant to section 1102 of the Bankruptcy Code [Docket No. 136].

                                               Relief Requested

        7.       By this application, the Debtors seek the entry of the Order authorizing the retention

and employment of Kirkland as their attorneys in accordance with the terms and conditions set

forth in that certain engagement letter between the Debtors and Kirkland effective as of August

25, 2017 (the “Engagement Letter”), a copy of which is attached hereto as Exhibit 1 to Exhibit A

and incorporated herein by reference.2


2   The Debtors also seek to retain Katten Muchin Rosenman LLP (“Katten”) as conflicts counsel in connection with
    these chapter 11 cases to handle matters that the Debtors may encounter that cannot be handled appropriately by
    Kirkland because of a conflict of interest. It is intended that the services of Katten shall complement, and not
    duplicate, the services to be rendered by Kirkland. Moreover, the responsibilities of Katten shall be confined to

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                                          Kirkland’s Qualifications

        8.       The Debtors seek to retain Kirkland because of Kirkland’s recognized expertise and

extensive experience and knowledge in the field of debtors’ protections, creditors’ rights, and

business reorganizations under chapter 11 of the Bankruptcy Code.

        9.       Kirkland has been actively involved in major chapter 11 cases in this District and

has represented debtors in many cases, including, among others: In re FULLBEAUTY Brands

Holdings Corp., No. 19-22185 (RDD) (Bankr. S.D.N.Y. Mar. 9, 2019); In re Aegean Petroleum

Network Inc., No. 18-13374 (MEW) (Bankr. S.D.N.Y. Nov. 6, 2018); In re Nine West Holdings,

Inc., No. 18-10947 (SCC) (Bankr. S.D.N.Y. June 29, 2018); In re Cenveo, Inc., No. 18-22178

(RDD) (Bankr. S.D.N.Y. Mar. 8, 2018); In re BCBG Max Azria Global Holdings, LLC, No. 17-

10466 (SCC) (Bankr. S.D.N.Y. Mar. 29, 2017); In re Avaya Inc., No. 17-10089 (SMB) (Bankr.

S.D.N.Y. Jan. 19, 2017); and In re Sabine Oil & Gas Corp., No. 15-11835 (SCC) (Bankr. S.D.N.Y.

Sept. 10, 2015).3

        10.      In preparing for its representation of the Debtors in these chapter 11 cases, Kirkland

has become familiar with the Debtors’ businesses and many of the potential legal issues that may

arise in the context of these chapter 11 cases. The Debtors believe that Kirkland is both

well-qualified and uniquely able to represent the Debtors in these chapter 11 cases in an efficient

and timely manner.




    discrete legal matters distinct from the matters handled by Kirkland. Katten shall act on its own and will not act
    under the direct supervision of Kirkland. Indeed, the Debtors are extremely mindful of the need to avoid
    duplication of services and appropriate procedures will be implemented to ensure that there is no such duplication
    and that appropriate ethical walls are erected to screen Kirkland from the work of Katten.
3   Because of the voluminous nature of the orders cited in this application, they are not attached to this application.
    Copies of these orders are available upon request to Kirkland.


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                                      Services to be Provided

       11.     Subject to further order of the Court, and consistent with the Engagement Letter,

the Debtors request the retention and employment of Kirkland to render the following legal

services:

               a.       advising the Debtors with respect to their powers and duties as debtors in
                        possession in the continued management and operation of their businesses
                        and properties;

               b.       advising and consulting on the conduct of these chapter 11 cases, including
                        all of the legal and administrative requirements of operating in chapter 11;

               c.       attending meetings and negotiating with representatives of creditors and
                        other parties in interest;

               d.       taking all necessary actions to protect and preserve the Debtors’ estates,
                        including prosecuting actions on the Debtors’ behalf, defending any action
                        commenced against the Debtors, and representing the Debtors in
                        negotiations concerning litigation in which the Debtors are involved,
                        including objections to claims filed against the Debtors’ estates;

               e.       preparing pleadings in connection with these chapter 11 cases, including
                        motions, applications, answers, orders, reports, and papers necessary or
                        otherwise beneficial to the administration of the Debtors’ estates;

               f.       representing the Debtors in connection with obtaining authority to continue
                        using cash collateral and postpetition financing;

               g.       advising the Debtors in connection with any potential sale of assets;

               h.       appearing before the Court and any appellate courts to represent the interests
                        of the Debtors’ estates;

               i.       advising the Debtors regarding tax matters;

               j.       taking any necessary action on behalf of the Debtors to negotiate, prepare,
                        and obtain approval of a disclosure statement and confirmation of a chapter
                        11 plan and all documents related thereto; and

               k.       performing all other necessary legal services for the Debtors in connection
                        with the prosecution of these chapter 11 cases, including: (i) analyzing the
                        Debtors’ leases and contracts and the assumption and assignment or
                        rejection thereof; (ii) analyzing the validity of liens against the Debtors; and
                        (iii) advising the Debtors on corporate and litigation matters.


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                                         Professional Compensation

        12.       Kirkland intends to apply for compensation for professional services rendered on

an hourly basis and reimbursement of expenses incurred in connection with these chapter 11 cases,

subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

the Court. The hourly rates and corresponding rate structure Kirkland will use in these chapter 11

cases are the same as the hourly rates and corresponding rate structure that Kirkland uses in other

restructuring matters, as well as similar complex corporate, securities, and litigation matters

whether in court or otherwise, regardless of whether a fee application is required. These rates and

the rate structure reflect that such restructuring and other complex matters typically are national in

scope and involve great complexity, high stakes, and severe time pressures.

        13.       Kirkland operates in a national marketplace for legal services in which rates are

driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

        14.       Kirkland’s current hourly rates for matters related to these chapter 11 cases range

as follows:4

                                Billing Category5                    U.S. Range
                                     Partners                       $1,025–$1,795
                                    Of Counsel                       $595–$1,705
                                    Associates                       $595–$1,125
                                Paraprofessionals                     $235–$460


4   For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
    currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable
    conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
    the billing rates listed in the chart herein.
5   Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
    that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
    to fees billed by such attorneys. Moreover, any contract attorneys or non-attorneys who are employed by the
    Debtors in connection with work performed by Kirkland will be subject to conflict checks and disclosures in

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        15.      Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

the work of its attorneys and paraprofessionals and to cover fixed and routine expenses. Hourly

rates vary with the experience and seniority of the individuals assigned. These hourly rates are

subject to periodic adjustments.6

        16.      Kirkland represented the Debtors during the twelve-month period before the

Petition Date using the hourly rates listed above or at Kirkland’s then-current hourly rates, as set

forth in the Hessler Declaration.

        17.      Moreover, these hourly rates are consistent with the rates that Kirkland charges

other comparable chapter 11 clients, regardless of the location of the chapter 11 case.

        18.      The rate structure provided by Kirkland is appropriate and not significantly

different from (a) the rates that Kirkland charges for other similar types of representations or

(b) the rates that other comparable counsel would charge to do work substantially similar to the

work Kirkland will perform in these chapter 11 cases.

        19.      It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

non-overhead expenses incurred in connection with the client’s case that would not have been

incurred except for representation of that particular client. It is also Kirkland’s policy to charge

its clients only the amount actually incurred by Kirkland in connection with such items. Examples



    accordance with the requirements of the Bankruptcy Code. While the rate ranges provided for in this application
    may change if an individual leaves or joins Kirkland, and if any such individual’s billing rate falls outside the
    ranges disclosed above, Kirkland does not intend to update the ranges for such circumstances.
6   For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
    paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
    basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and
    paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
    used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
    Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
    the Order, Kirkland will provide ten business days’ notice to the Debtors, the U.S. Trustee, and any official
    committee before implementing any periodic increases, and shall file any such notice with the Court.


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of such expenses include postage, overnight mail, courier delivery, transportation, overtime

expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

       20.     To ensure compliance with all applicable deadlines in these chapter 11 cases, from

time to time Kirkland utilizes the services of overtime secretaries. Kirkland charges fees for these

services pursuant to the Engagement Letter, which permits Kirkland to bill the Debtors for

overtime secretarial charges that arise out of business necessity.          In addition, Kirkland

professionals also may charge their overtime meals and overtime transportation to the Debtors

consistent with the Amended Guidelines for Fees and Disbursements for Professionals in Southern

District of New York Cases (the “Amended Guidelines”) and the Local Rules.

       21.     Kirkland currently charges $0.16 per page for standard duplication in its offices in

the United States. Notwithstanding the foregoing and consistent with the Amended Guidelines and

the Local Rules, Kirkland will charge no more than $0.10 per page for standard duplication

services in these chapter 11 cases. Kirkland does not charge its clients for incoming facsimile

transmissions. Kirkland has negotiated a discounted rate for Westlaw computer-assisted legal

research. Computer-assisted legal research is used whenever the researcher determines that using

Westlaw is more cost effective than using traditional (non-computer assisted legal research)

techniques.

                    Compensation Received by Kirkland from the Debtors

       22.     Per the terms of the Engagement Letter, on November 15, 2017, the Debtors paid

$4,000,000.00 to Kirkland, which, as stated in the Engagement Letter, constituted an “advance

payment retainer” as defined in Rule 1.15(c) of the Illinois Rules of Professional Conduct and

Dowling v. Chicago Options Assoc., Inc., 875 N.E.2d 1012, 1018 (Ill. 2007). Subsequently, the

Debtors paid to Kirkland additional advance payment retainer totaling $15,974,146.75 in the

aggregate. As stated in the Engagement Letter, any advance payment retainer is earned by
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Kirkland upon receipt, any advance payment retainer becomes the property of Kirkland upon

receipt, the Debtors no longer have a property interest in any advance payment retainer upon

Kirkland’s receipt, any advance payment retainer will be placed in Kirkland’s general account and

will not be held in a client trust account, and the Debtors will not earn any interest on any advance

payment retainer.7

        23.       Pursuant to Bankruptcy Rule 2016(b), Kirkland has neither shared nor agreed to

share (a) any compensation it has received or may receive with another party or person, other than

with the partners, associates, and contract attorneys associated with Kirkland or (b) any

compensation another person or party has received or may receive.

        24.       As of the Petition Date, the Debtors did not owe Kirkland any amounts for legal

services rendered before the Petition Date. Although certain expenses and fees may have been

incurred but not yet applied to Kirkland’s advance payment retainer, the amount of Kirkland’s

advance payment retainer exceeds any amounts listed or to be listed on statements describing

services rendered and expenses incurred (on a “rates times hours” and “dates of expenses incurred”

basis) prior to the Petition Date.

                                        Kirkland’s Disinterestedness

        25.       To the best of the Debtors’ knowledge and as disclosed herein and in the Hessler

Declaration, (a) Kirkland is a “disinterested person” within the meaning of section 101(14) of the

Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code, and does not hold or

represent an interest adverse to the Debtors’ estates and (b) Kirkland has no connection to the


7   The Engagement Letter provides that Kirkland may continue to hold any remaining prepetition advance payment
    retainer during the pendency of a chapter 11 case rather than applying such advance payment retainer to
    postpetition fees and expenses. Kirkland evaluates whether to retain any remaining prepetition advance payment
    retainer on a case-by-case basis. In this particular case, Kirkland has elected not to hold any remaining prepetition
    advance payment retainer but, instead, will apply any remaining advance payment retainer to postpetition fees
    and expenses as such fees and expenses are allowed by the Court.


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Debtors, their creditors, or other parties in interest, except as may be disclosed in the Hessler

Declaration.

       26.     Kirkland will review its files periodically during the pendency of these chapter 11

cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).

                                      Supporting Authority

       27.     The Debtors seek retention of Kirkland as their attorneys pursuant to section 327(a)

of the Bankruptcy Code, which provides that a debtor, subject to Court approval:

               [M]ay employ one or more attorneys, accountants, appraisers,
               auctioneers, or other professional persons, that do not hold or
               represent an interest adverse to the estate, and that are disinterested
               persons, to represent or assist the [debtor] in carrying out the
               [debtor]’s duties under this title.

11 U.S.C. § 327(a).

       28.     Bankruptcy Rule 2014(a) requires that an application for retention include:

               [S]pecific facts showing the necessity for the employment, the name
               of the [firm] to be employed, the reasons for the selection, the
               professional services to be rendered, any proposed arrangement for
               compensation, and, to the best of the applicant’s knowledge, all of
               the [firm’s] connections with the debtor, creditors, any other party
               in interest, their respective attorneys and accountants, the United
               States trustee, or any person employed in the office of the United
               States trustee.

Fed. R. Bankr. P. 2014.

       29.     The Debtors submit that for all the reasons stated above and in the Hessler

Declaration, the retention and employment of Kirkland as counsel to the Debtors is warranted.

Further, as stated in the Hessler Declaration, Kirkland is a “disinterested person” within the


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meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the

Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates and

has no connection to the Debtors, their creditors, or other parties in interest, except as may be

disclosed in the Hessler Declaration.

                                             Notice

       30.     The Debtors have provided notice of this application to: (a) the entities on the

Master Service List (as defined in the Case Management Order and available on the Debtors’ case

website at www.kccllc.net/windstream) and (b) any person or entity with a particularized interest

in the subject matter of the application. The Debtors respectfully submit that no other or further

notice is necessary.

                                        No Prior Request

       31.     No prior request for the relief sought in this application has been made to this or

any other court.



                              [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors respectfully request that the Court enter the Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

granting such other relief as is just and proper.




Dated: March 26, 2019                  /s/ Kristi Moody
White Plains, New York                 Kristi Moody
                                       Windstream Holdings, Inc.
                                       Executive Vice President, General Counsel,
                                       and Corporate Secretary
                                       Windstream Holdings, Inc.
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                                     Exhibit A

                                  Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    WINDSTREAM HOLDINGS, INC., et al.,1                         )        Case No. 19-22312 (RDD)
                                                                )
                                       Debtors.                 )        (Jointly Administered)
                                                                )

       ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
    KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP
 AS ATTORNEYS FOR THE DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE
                NUNC PRO TUNC TO THE PETITION DATE

             Upon the application (the “Application”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for the entry of an order (this “Order”) authorizing the

Debtors to retain and employ Kirkland & Ellis LLP and Kirkland & Ellis International LLP

(collectively, “Kirkland”) as their attorneys effective nunc pro tunc to the Petition Date, pursuant

to sections 327(a) and 330 of title 11 of the United States Code (the “Bankruptcy Code”), Rules

2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rules 2014-1 and 2016-1 of the Local Bankruptcy Rules for the Southern District of New York

(the “Local Rules”); and the Court having reviewed the Application, the Declaration of Stephen

E. Hessler, the president of Stephen E. Hessler, P.C., a partner of Kirkland & Ellis LLP, and a

partner of Kirkland & Ellis International LLP (the “Hessler Declaration”), and the declaration of

Kristi Moody, Executive Vice President, General Counsel, and Corporate Secretary of Windstream


1     The last four digits of Debtor Windstream Holdings, Inc.’s tax identification number are 7717. Due to the large
      number of Debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of
      the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing
      agent at http://www.kccllc.net/windstream. The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 4001 North Rodney Parham Road, Little Rock, Arkansas 72212.
2     Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the application.
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Holdings, Inc. (the “Moody Declaration”); and the Court having found that the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found

that the Application is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having

found that venue of this proceeding and the Application in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and the Court having found based on the representations made in the

Application and in the Hessler Declaration that (a) Kirkland does not hold or represent an interest

adverse to the Debtors’ estates and (b) Kirkland is a “disinterested person” as defined in section

101(14) of the Bankruptcy Code and as required by section 327(a) of the Bankruptcy Code; and

the Court having found that the relief requested in the Application is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and the Court having found that the

Debtors provided adequate and appropriate notice of the Application under the circumstances and

that no other or further notice is required; and the Court having reviewed the Application and

having heard statements in support of the Application at a hearing held before the Court

(the “Hearing”); and the Court having determined that the legal and factual bases set forth in the

Application and at the Hearing establish just cause for the relief granted herein; and any objections

to the relief requested herein having been withdrawn or overruled on the merits; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Application is granted to the extent set forth herein.

       2.      The Debtors are authorized to retain and employ Kirkland as their attorneys nunc

pro tunc to the Petition Date in accordance with the terms and conditions set forth in the

Application and in the Engagement Letter attached hereto as Exhibit 1.




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       3.      Kirkland is authorized to provide the Debtors with the professional services as

described in the Application and the Engagement Letter. Specifically, but without limitation,

Kirkland will render the following legal services:

               a.       advising the Debtors with respect to their powers and duties as debtors in
                        possession in the continued management and operation of their businesses
                        and properties;

               b.       advising and consulting on their conduct during these chapter 11 cases,
                        including all of the legal and administrative requirements of operating in
                        chapter 11;

               c.       attending meetings and negotiating with representatives of creditors and
                        other parties in interest;

               d.       taking all necessary actions to protect and preserve the Debtors’ estates,
                        including prosecuting actions on the Debtors’ behalf, defending any action
                        commenced against the Debtors, and representing the Debtors in
                        negotiations concerning litigation in which the Debtors are involved,
                        including objections to claims filed against the Debtors’ estates;

               e.       preparing pleadings in connection with these chapter 11 cases, including
                        motions, applications, answers, orders, reports, and papers necessary or
                        otherwise beneficial to the administration of the Debtors’ estates;

               f.       representing the Debtors in connection with obtaining authority to continue
                        using cash collateral and postpetition financing;

               g.       advising the Debtors in connection with any potential sale of assets;

               h.       appearing before the Court and any appellate courts to represent the interests
                        of the Debtors’ estates;

               i.       advising the Debtors regarding tax matters;

               j.       taking any necessary action on behalf of the Debtors to negotiate, prepare,
                        and obtain approval of a disclosure statement and confirmation of a chapter
                        11 plan and all documents related thereto; and

               k.       performing all other necessary legal services for the Debtors in connection
                        with the prosecution of these chapter 11 cases, including: (i) analyzing the
                        Debtors’ leases and contracts and the assumption and assignment or
                        rejection thereof; (ii) analyzing the validity of liens against the Debtors; and
                        (iii) advising the Debtors on corporate and litigation matters.



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       4.      Kirkland shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

       5.      Notwithstanding anything in the Engagement Letter to the contrary, Kirkland shall

apply any remaining amounts of its prepetition advance payment retainer as a credit toward

postpetition fees and expenses, after such postpetition fees and expenses are approved pursuant to

an order of the Court awarding fees and expenses to Kirkland. Kirkland is authorized without

further order of the Court to reserve and apply amounts from the prepetition advance payment

retainer that would otherwise be applied toward payment of postpetition fees and expenses as are

necessary and appropriate to compensate and reimburse Kirkland for fees or expenses incurred on

or prior to the Petition Date consistent with its ordinary course billing practices.

       6.      Notwithstanding anything to the contrary in the Application, the Engagement

Letter, or the Declarations attached to the Application, the reimbursement provisions allowing the

reimbursement of fees and expenses incurred in connection with participating in, preparing for, or

responding to any action, claim, suit, or proceeding brought by or against any party that relates to

the legal services provided under the Engagement Letter and fees for defending any objection to

Kirkland’s fee applications under the Bankruptcy Code are not approved pending further order of

the Court.

       7.      Kirkland shall not charge a markup to the Debtors with respect to fees billed by

contract attorneys who are hired by Kirkland to provide services to the Debtors and shall ensure

that any such contract attorneys are subject to conflict checks and disclosures in accordance with

the requirements of the Bankruptcy Code and Bankruptcy Rules.


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       8.      Kirkland shall provide ten-business-days’ notice to the Debtors, the U.S. Trustee,

and any official committee before any increases in the rates set forth in the Application or the

Engagement Letter are implemented and shall file such notice with the Court. The U.S. Trustee

retains all rights to object to any rate increase on all grounds, including the reasonableness standard

set forth in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

increase pursuant to section 330 of the Bankruptcy Code.

       9.    Kirkland shall not withdraw as Debtors’ counsel before the effective date of any

chapter 11 plan confirmed in these chapter 11 cases without prior approval of the Court in

accordance with Local Bankruptcy Rule 2090-1(e).

       10.     The Debtors and Kirkland are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Application.

       11.     Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Local Rules are satisfied by the contents

of the Application.

       12.     To the extent the Application, the Hessler Declaration, the Moody Declaration, or

the Engagement Letter is inconsistent with this Order, the terms of this Order shall govern.

       13.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       14.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

 White Plains, New York
 Dated: ____________, 2019

                                                 THE HONORABLE ROBERT D. DRAIN
                                                 UNITED STATES BANKRUPTCY JUDGE


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                                     Exhibit 1

                                 Engagement Letter
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                                                              601 Lexington Avenue
                                                               New York, NY 10022
       Stephen E. Hessler, P.C.
        To Call Writer Directly:                                 (212) 446-4800                                        Facsimile:
           (212) 446-4974                                                                                           (212) 446-4900
    stephen.hessler@kirkland.com                               www.kirkland.com




                                                     Dated as of August 25, 2017

          Windstream Holdings, Inc. and
          Windstream Services, LLC
          Attn.: Kristi Moody, Esq.
          4001 Rodney Parham Road
          Little Rock, Arkansas 72212

                              Re:    Retention to Provide Legal Services

          Dear Kristi:

                  We are very pleased that Windstream Holdings, Inc. and Windstream Services, LLC
          (collectively, “Client”) have asked us to represent them. Please note, the Firm’s representation is
          only of Client; the Firm does not and will not represent any direct or indirect shareholder, director,
          officer, partner, employee, affiliate, or joint venturer of Client or of any other entity except as
          otherwise agreed in writing.

                  General Terms. This retention letter (this “Agreement”) sets forth the terms of Client’s
          retention of Kirkland & Ellis LLP (and its affiliated entity Kirkland & Ellis International LLP
          (collectively, the “Firm”)) to provide legal services and constitutes an agreement between the Firm
          and Client (the “Parties”). This Agreement sets forth the Parties’ entire agreement for rendering
          professional services for the current matter, as well as for all other existing or future matters
          (collectively, the “Engagement”), except where the Parties otherwise agree in writing.

                 Fees. The Firm will bill Client for fees incurred at its regular hourly rates and in quarterly
          increments of an hour (or in smaller time increments as otherwise required by a court). The Firm
          reserves the right to adjust the Firm’s billing rates from time to time in the ordinary course of the
          Firm’s representation of Client.

                 Although the Firm will attempt to estimate fees to assist Client in Client’s planning if
          requested, such estimates are subject to change and are not binding unless otherwise expressly and
          unequivocally stated in writing.




Beijing    Boston   Chicago    Hong Kong   Houston   London     Los Angeles   Munich   Palo Alto   San Francisco    Shanghai   Washington, D.C.
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        Expenses. Expenses related to providing services shall be included in the Firm’s
statements as disbursements advanced by the Firm on Client’s behalf. Such expenses include
photocopying, printing, scanning, witness fees, travel expenses, filing and recording fees, certain
secretarial overtime, and other overtime expenses, postage, express mail, and messenger charges,
deposition costs, computerized legal research charges, and other computer services, and
miscellaneous other charges. Client shall pay directly (and is solely responsible for) certain larger
costs, such as consultant or expert witness fees and expenses, and outside suppliers’ or contractors’
charges, unless otherwise agreed by the Parties. By executing this Agreement below, Client agrees
to pay for all charges in accordance with the Firm’s schedule of charges, a copy of which is
attached hereto at Schedule 1, as revised from time to time.

        Billing Procedures. The Firm’s statements of fees and expenses are typically delivered
monthly, but the Firm reserves the right to alter the timing of delivering its statements depending
on circumstances. Client may have the statement in any reasonable format it chooses, but the Firm
will select an initial format for the statement unless Client otherwise requests in writing.
Depending on the circumstances, however, estimated or summary statements may be provided,
with time and expense details to follow thereafter.

         Retainer. The Firm and the Client may agree that Client, if mutually agreed to by Client
and the Firm, will provide to the Firm an “advance payment retainer,” as defined in Rule 1.15(c)
of the Illinois Rules of Professional Conduct, Dowling v. Chicago Options Assoc., Inc., 875 N.E.2d
1012, 1018 (Ill. 2007), and In re Caesars Entm’t Operating Co., Inc., No. 15-01145 (ABG) (Bankr.
N.D. Ill. May 28, 2015) (and cases cited therein). In addition, Client agrees to provide one or more
additional advance payment retainers upon request by the Firm so that the amount of any such
advance payment retainers remains at or above the Firm’s estimated fees and expenses. The Firm
may apply any such advance payment retainers to any outstanding fees as services are rendered
and to expenses as they are incurred. Client understands and acknowledges that any advance
payment retainers are earned by the Firm upon receipt, any advance payment retainers become the
property of the Firm upon receipt, Client no longer has a property interest in any advance payment
retainers upon the Firm’s receipt, any advance payment retainers will be placed in the Firm’s
general account and will not be held in a client trust account, and Client will not earn any interest
on any advance payment retainers; provided, however, that solely to the extent required under
applicable law, at the conclusion of the Engagement, if the amount of any advance payment
retainers held by the Firm is in excess of the amount of the Firm’s outstanding and estimated fees,
expenses, and costs, the Firm will pay to Client the amount by which any advance payment
retainers exceed such fees, expenses, and costs. Client further understands and acknowledges that
the use of advance payment retainers is an integral condition of the Engagement, and is necessary
to ensure that: Client continues to have access to the Firm’s services; the Firm is compensated for
its representation of Client; the Firm is not a pre-petition creditor in the event of a Restructuring
Case; and that in light of the foregoing, the provision of any such advance payment retainers is in
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Client’s best interests. The fact that Client may provide the Firm with an advance payment retainer
does not affect Client’s right to terminate the client-lawyer relationship.

        Please be advised that there is another type of retainer known as a “security retainer,” as
defined in Dowling v. Chicago Options Assoc., 875 N.E.2d at 1018, and In re Caesars Entm’t
Operating Co., Inc., No. 15-01145 (ABG) (Bankr. N.D. Ill. May 28, 2015) (and cases cited
therein). A security retainer remains the property of the client until the lawyer applies it to charges
for services that are actually rendered and expenses that are incurred. Any unearned funds are then
returned to the client. In other circumstances not present here, the Firm would consider a security
retainer and Client’s funds would be held in the Firm’s segregated client trust account until applied
to pay fees and expenses. Funds in a security retainer, however, can be subject to claims of Client’s
creditors and, if taken by creditors, may leave Client unable to pay for ongoing legal services,
which may result in the Firm being unable to continue the Engagement. Moreover, a security
retainer creates clawback risks for the Firm in the event of an insolvency proceeding. The choice
of the type of retainer to be used is Client’s choice alone, but for the Engagement and for the
reasons set forth above, the Firm is unwilling to represent Client in the Engagement without using
the advance payment retainer.

        Termination. The Engagement may be terminated by either Party at any time by written
notice by or to Client. The Engagement will end at the earliest of (a) Client’s termination of the
Engagement, (b) the Firm’s withdrawal, and (c) the substantial completion of the Firm’s
substantive work. If permission for withdrawal is required by a court, the Firm shall apply
promptly for such permission, and termination shall coincide with the court order for withdrawal.
If this Agreement or the Firm’s services are terminated for any reason, such termination shall be
effective only to terminate the Firm’s services prospectively and all the other terms of this
Agreement shall survive any such termination.

        Upon cessation of the Firm’s active involvement in a particular matter (even if the Firm
continues active involvement in other matters on Client’s behalf), the Firm will have no further
duty to inform Client of future developments or changes in law as may be relevant to such matter.
Further, unless the Parties mutually agree in writing to the contrary, the Firm will have no
obligation to monitor renewal or notice dates or similar deadlines that may arise from the matters
for which the Firm had been retained.

        Cell Phone and E-Mail Communication. The Firm hereby informs Client and Client
hereby acknowledges that the Firm’s attorneys sometimes communicate with their clients and their
clients’ professionals and agents by cell telephone, that such communications are capable of being
intercepted by others and therefore may be deemed no longer protected by the attorney-client
privilege, and that Client must inform the Firm if Client does not wish the Firm to discuss
privileged matters on cell telephones with Client or Client’s professionals or agents.
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        The Firm hereby informs Client and Client hereby acknowledges that the Firm’s attorneys
sometimes communicate with their clients and their clients’ professionals and agents by
unencrypted e-mail, that such communications are capable of being intercepted by others and
therefore may be deemed no longer protected by the attorney-client privilege, and that Client must
inform the Firm if Client wishes to institute a system to encode all e-mail between the Firm and
Client or Client’s professionals or agents.

        File Retention. All records and files will be retained and disposed of in compliance with
the Firm’s policy in effect from time to time. Subject to future changes, it is the Firm’s current
policy generally not to retain records relating to a matter for more than five years. Upon Client’s
prior written request, the Firm will return client records that are Client’s property to Client prior
to their destruction. It is not administratively feasible for the Firm to advise Client of the closing
of a matter or the disposal of records. The Firm recommends, therefore, that Client maintain
Client’s own files for reference or submit a written request for Client’s client files promptly upon
conclusion of a matter. Notwithstanding anything to the contrary herein, Client acknowledges and
agrees that any applicable privilege of Client (including any attorney-client and work product
privilege or any duty of confidentiality) (collectively, the “Privileges”) belongs to Client alone and
not to any successor entity (including without limitation the Client after a change in control or
other similar restructuring or non-restructuring transaction (including without limitation a
reorganized Client after the effective date of a plan of reorganization), whether through merger,
asset or equity sale, business combination, or otherwise, irrespective of whether such transaction
occurs in a Restructuring Case or on an out-of-court basis (in each case, a “Transaction”)). Client
hereby waives any right, title, and interest of such successor entity to all information, data,
documents, or communications in any format covered by the Privileges that is in the possession of
the Firm (“Firm Materials”), to the extent that such successor entity had any right, title, and interest
to such Firm Materials. For the avoidance of doubt, Client agrees and acknowledges that after a
Transaction, such successor entity shall have no right to claim or waive the Privileges or request
the return of any such Firm Materials; instead, such Firm Materials shall remain in the Firm’s sole
possession and control for its exclusive use, and the Firm will (a) not waive any Privileges or
disclose the Firm Materials, (b) take all reasonable steps to ensure that the Privileges survive and
remain in full force and effect, and (c) assert the Privileges to prevent disclosure of any Firm
Materials.

        Conflicts of Interest. As is customary for a law firm of the Firm’s size, there are numerous
business entities, with which Client currently has relationships, that the Firm has represented or
currently represents in matters unrelated to Client. The Firm notes that the Firm currently
represents or has represented some of the client’s bondholders or their affiliates, including Allianz
Capital Partners GmbH, Pacific Investment Management Company LLC, Allianz SE,
AllianceBernstein Institutional Series, AllianceBernstein Holding LP, AXA SA, AXA REIM,
Goldman Sachs Group, Inc., JPMorgan Chase Bank, N.A., and U.S. Bank National Association
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and/or their respective affiliates (collectively, the “Interested Parties”) and will continue to do so
in such unrelated matters. Because Client is engaged in activities (and may in the future engage
in additional activities) in which Client’s interests may diverge from those of the Interested Parties
or the Firm’s other clients, the possibility exists that the Interested Parties or one of the Firm’s
clients may take positions adverse to Client.

         Further, in undertaking the representation of Client, the Firm wants to be fair not only to
Client’s interests but also to those of the Firm’s other clients. Because Client is engaged in
activities (and may in the future engage in additional activities) in which its interests may diverge
from those of the Firm’s other clients, the possibility exists that one of the Firm’s current or future
clients may take positions adverse to Client (including litigation or other dispute resolution
mechanisms) in a matter in which the Firm may be retained. In the event a present conflict of
interest exists between Client and the Firm’s other clients or in the event one arises in the future,
Client agrees to waive any such conflict of interest or other objection that would preclude the
Firm’s representation of another client (a) in other current or future matters substantially unrelated
to the Engagement or (b) other than during a Restructuring Case (as defined below), in other
matters related to Client (including in litigation, arbitration or other dispute resolution
mechanisms). Client also agrees that the Firm’s representation in the Engagement is solely of
Client and that no member or other entity or person related to it (such as a shareholder, director,
officer, partner, employee, or joint venturer) has the status of a client for conflict of interest
purposes.

         The Firm informs Client that certain entities owned by current or former Firm attorneys
and senior staff (“attorney investment entities”) have investments in funds or companies that may,
directly or indirectly, be affiliated with Client, hold investments in Client’s debt or equity
securities, or conduct commercial transactions with Client (each, a “Passive Holding”). The
attorney investment entities are passive and have no management or other control rights in such
funds or companies. The Firm notes that other persons may in the future assert that a Passive
Holding creates, in certain circumstances, a conflict between the Firm’s exercise of its independent
professional judgment in rendering advice to Client and the financial interest of Firm attorneys
participating in the attorney investment entities, and such other persons might seek to limit Client’s
ability to use the Firm to advise Client on a particular matter. While the Firm cannot control what
a person might assert or seek, the Firm believes that the Firm’s judgment will not be compromised
by virtue of any Passive Holding. Please let us know if Client has any questions or concerns
regarding the Passive Holdings. By executing this letter, Client acknowledges the Firm’s
disclosure of the foregoing.

      No Guarantee of Success. It is impossible to provide any promise or guarantee about the
outcome of Client’s matters. Nothing in this Agreement or any statement by Firm staff or attorneys
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constitutes a promise or guarantee. Any comments about the outcome of Client’s matter are simply
expressions of judgment and are not binding on the Firm.

       Consent to Use of Information. In connection with future materials that, for marketing
purposes, describe facets of the Firm’s law practice and recite examples of matters the Firm
handles on behalf of clients, Client agrees that, if those materials avoid disclosing Client’s
confidences and secrets as defined by applicable ethical rules, they may identify Client as a client,
may contain factual synopses of Client’s matters, and may indicate generally the results achieved.

         Reimbursement of Fees and Expenses. Client agrees to promptly reimburse the Firm for
all internal or external fees and expenses, including the amount of the Firm’s attorney and paralegal
time at normal billing rates, as incurred by the Firm in connection with participating in, preparing
for, or responding to any action, claim, objection, suit, or proceeding brought by or against any
third-party that relates to the legal services provided by the Firm under this Agreement. Without
limiting the scope of the foregoing, and by way of example only, this paragraph extends to all such
fees and expenses incurred by the Firm: in responding to document subpoenas, and preparing for
and testifying at depositions and trials; and with respect to the filing, preparation, prosecution or
defense of any applications by the Firm for approval of fees and expenses in a judicial, arbitral, or
similar proceeding. Further, Client understands, acknowledges, and agrees that in connection with
a Restructuring Case, if Client has not objected to the payment of a Firm invoice or to a Firm fee
and expense application, has in fact paid such invoice, or has approved such fee and expense
application, then Client waives its right (and the right of any successor entity as a result of a
Transaction or otherwise) to subsequently object to the payment of fees and expenses covered by
such invoice or fee application.

         LLP. Kirkland & Ellis LLP is a limited liability partnership organized under the laws of
Illinois, and Kirkland & Ellis International LLP is a limited liability partnership organized under
the laws of Delaware. Pursuant to those statutory provisions, an obligation incurred by a limited
liability partnership, whether arising in tort, contract or otherwise, is solely the obligation of the
limited liability partnership, and partners are not personally liable, directly or indirectly, by way
of indemnification, contribution, assessment or otherwise, for such obligation solely by reason of
being or so acting as a partner.

       Governing Law. This Agreement shall be governed by, and construed in accordance with,
the laws of the State of Illinois, without giving effect to the conflicts of law principles thereof.

       Miscellaneous. This Agreement sets forth the Parties’ entire agreement for rendering
professional services. It can be amended or modified only in writing and not orally or by course
of conduct. Each Party signing below is jointly and severally responsible for all obligations due
to the Firm and represents that each has full authority to execute this Agreement so that it is
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Dated as of August 25, 2017
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binding. This Agreement may be signed in one or more counterparts and binds each Party
countersigning below, whether or not any other proposed signatory ever executes it. If any
provision of this Agreement or the application thereof is held invalid or unenforceable, the
invalidity or unenforceability shall not affect other provisions or applications of this Agreement
which can be given effect without such provisions or application, and to this end the provisions of
this Agreement are declared to be severable. Any agreement or waiver contained herein by Client
extends to any assignee or successor in interest to Client, including without limitation the
reorganized Client upon and after the effective date of a plan of reorganization in a Restructuring
Case.

        This Agreement is the product of arm’s-length negotiations between sophisticated parties,
and Client acknowledges that it is experienced with respect to the retention of legal counsel.
Therefore, the Parties acknowledge and agree that any otherwise applicable rule of contract
construction or interpretation which provides that ambiguities shall be construed against the drafter
(and all similar rules of contract construction or interpretation) shall not apply to this Agreement.
The Parties further acknowledge that the Firm is not advising Client with respect to this Agreement
because the Firm would have a conflict of interest in doing so, and that Client has consulted (or
had the opportunity to consult) with legal counsel of its own choosing. Client further
acknowledges that Client has entered into this Agreement and agreed to all of its terms and
conditions voluntarily and fully-informed, based on adequate information and Client’s own
independent judgment. The Parties further acknowledge that they intend for this Agreement to be
effective and fully enforceable upon its execution and to be relied upon by the Parties.

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KIRKLAND & ELLIS LLP

CLIENT-REIMBURSABLE EXPENSES AND OTHER CHARGES

Effective 01/01/2017

The following outlines Kirkland & Ellis LLP’s (“K&E LLP”) policies and standard charges for
various services performed by K&E LLP and/or by other third parties on behalf of the client which
are often ancillary to our legal services. Services provided by in-house K&E LLP personnel are
for the convenience of our clients. Given that these services are often ancillary to our legal
services, in certain instances it may be appropriate and/or more cost efficient for these services to
be outsourced to a third-party vendor. If services are provided beyond those outlined below,
pricing will be based on K&E LLP’s approximate cost and/or comparable market pricing.

       x       Duplicating, Reprographics and Printing: The following list details K&E LLP’s
               charges for duplicating, reprographics and printing services:

                      Black and White Copy or Print (all sizes of paper):
                          x $0.16 per impression for all U.S. offices
                          x €0.10 per impression in Munich
                          x £0.15 per impression in London
                          x HK$1.50 per impression in Hong Kong
                          x RMB1.00 per impression in Beijing and Shanghai
                      Color Copy or Print (all sizes of paper):
                          x $0.55 per impression
                      Scanned Images:
                          x $0.16 per page for black and white or color scans
                      Other Services:
                          x CD/DVD Duplicating or Mastering - $7/$10 per CD/DVD
                          x Binding - $0.70 per binding
                          x Large or specialized binders - $13/$27
                          x Tabs - $0.13 per item
                          x OCR/File Conversion - $0.03 per page
                          x Production Blowbacks - $0.10 per page for electronic batch printing
                              over 500 pages
                          x Large Format Printing - $1.00 per sq. ft.

       x       Secretarial and Word Processing: Clients are not charged for secretarial and
               word processing activities incurred on their matters during standard business hours.

       x       Overtime Charges: Clients will be charged for overtime costs for secretarial and
               document services work if either (i) the client has specifically requested the after-
               hours work or (ii) the nature of the work being done for the client necessitates out-
               of-hours overtime and such work could not have been done during normal working
               hours. If these conditions are satisfied, costs for related overtime meals and
               transportation also will be charged.

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      x        Travel Expenses: We charge clients our out-of-pocket costs for travel expenses
               including associated travel agency fees. We charge coach fares (business class for
               international flights) unless the client has approved business-class, first-class or an
               upgrade. K&E LLP personnel are instructed to incur only reasonable airfare, hotel
               and meal expenses. K&E LLP negotiates, uses, and passes along volume discount
               hotel and air rates whenever practicable. However, certain retrospective rebates
               may not be passed along.

      x        Catering Charges: Clients will be charged for any in-house catering service
               provided in connection with client matters.

      x        Communication Expenses: We do not charge clients for telephone calls or faxes
               made from K&E LLP’s offices with the exception of third-party conference calls
               and videoconferences.

               Charges incurred for conference calls, videoconferences, cellular telephones, and
               calls made from other third-party locations will be charged to the client at the
               actual cost incurred. Further, other telecommunication expenses incurred at third-
               party locations (e.g., phone lines at trial sites, Internet access, etc.) will be charged
               to the client at the actual cost incurred.

      x        Overnight Delivery/Postage: We charge clients for the actual cost of overnight
               and special delivery (e.g., Express Mail, FedEx, and DHL), and U.S. postage for
               materials mailed on the client’s behalf. K&E LLP negotiates, uses, and passes
               along volume discount rates whenever practicable.

      x        Messengers: We charge clients for the actual cost of a third party vendor
               messenger. Where a K&E LLP in-house messenger is used, we charge clients a
               standard transaction charge plus applicable cab fare.

      x        Library Research Services: Library Research staff provides research and
               document retrieval services at the request of attorneys, and clients are charged per
               hour for these services. Any expenses incurred in connection with the request, such
               as outside retrieval service or online research charges, are passed on to the client at
               cost, including any applicable discounts.

      x        Online Research Charges: K&E LLP charges for costs incurred in using third-
               party online research services in connection with a client matter. K&E LLP
               negotiates and uses discounts or special rates for online research services whenever
               possible and practicable and passes through the full benefit of any savings to the
               client based on actual usage.

      x        Inter-Library Loan Services: Our standard client charge for inter-library loan
               services when a K&E LLP library employee borrows a book from an outside source
               is $25 per title. There is no client charge for borrowing books from K&E LLP
               libraries in other cities or from outside collections when the title is part of the K&E
               LLP collection but unavailable.

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       x       Off-Site Legal Files Storage: Clients are not charged for off-site storage of files
               unless the storage charge is approved in advance.

       x       Electronic Data Storage: K&E LLP will not charge clients for costs to store
               electronic data and files on K&E LLP’s systems if the data stored does not exceed
               100 gigabytes (GB). If the data stored for a specific client exceeds 100GB, K&E
               LLP will charge clients $4.00 per month/per GB for all network data stored until
               the data is either returned to the client or properly disposed of. For e-discovery data
               on the Relativity platform, K&E LLP will also charge clients $4.00 per month/per
               GB until the data is either returned to the client or properly disposed of.

       x       Calendar Court Services: Our standard charge is $25 for a court filing and other
               court services or transactions.

       x       Supplies: There is no client charge for standard office supplies. Clients are
               charged for special items (e.g., a minute book, exhibit tabs/indexes/dividers,
               binding, etc.) and then at K&E LLP’s actual cost.

       x       Contract Attorneys and Contract Non-Attorney Billers: If there is a need to
               utilize a contract attorney or contract non-attorney on a client engagement, clients
               will be charged a standard hourly rate for these billers unless other specific billing
               arrangements are agreed between K&E LLP and client.

       x       Expert Witnesses, Experts of Other Types, and Other Third Party
               Consultants: If there is a need to utilize an expert witness, expert of other type, or
               other third party consultant such as accountants, investment bankers, academicians,
               other attorneys, etc. on a client engagement, clients will be requested to retain or
               pay these individuals directly unless specific billing arrangements are agreed
               between K&E LLP and client.

       x       Third Party Expenditures: Third party expenditures (e.g., corporate document
               and lien searches, lease of office space at Trial location, IT equipment rental, SEC
               and regulatory filings, etc.) incurred on behalf of a client, will be passed through to
               the client at actual cost. If the invoice exceeds $50,000, it is K&E LLP’s policy
               that wherever possible such charges will be directly billed to the client. In those
               circumstances where this is not possible, K&E LLP will seek reimbursement from
               our client prior to paying the vendor.

Unless otherwise noted, charges billed in foreign currencies are determined annually based on
current U.S. charges at an appropriate exchange rate.




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Schedule of Entities reflects Clients as of February 15, 2019


                                              Schedule A
A.R.C. Networks, Inc.
Allworx Corp.
American Telephone Company LLC
ARC Networks, Inc.
ATX Communications, Inc.
ATX Licensing, Inc.
ATX Telecommunications Services of Virginia, LLC
Birmingham Data Link, LLC
BOB, LLC
Boston Retail Partners, LLC
BridgeCom Holdings, Inc.
BridgeCom International, Inc.
BridgeCom Solutions Group, Inc.
Broadview Networks of Massachusetts, Inc.
Broadview Networks of Virginia, Inc.
Broadview Networks, Inc.
Broadview NP Acquisition Corp.
Buffalo Valley Management Services, Inc.
Business Telecom of Virginia, Inc.
Business Telecom, LLC
BV-BC Acquisition Corporation
Cavalier IP TV, LLC
Cavalier Services, LLC
Cavalier Telephone Mid-Atlantic, L.L.C.
Cavalier Telephone, L.L.C.
CCL Historical, Inc.
Choice One Communications of Connecticut, Inc.
Choice One Communications of Maine, Inc.
Choice One Communications of Massachusetts, Inc.
Choice One Communications of New York, Inc.
Choice One Communications of Ohio, Inc.
Choice One Communications of Pennsylvania, Inc.
Choice One Communications of Rhode Island, Inc.
Choice One Communications of Vermont, Inc.
Choice One Communications Resale, L.L.C.
Choice One of New Hampshire, Inc.
Cinergy Communications Company of Virginia, LLC
Conestoga Enterprises, Inc.
Conestoga Management Services, Inc.
Conestoga Wireless Company
Connecticut Broadband, LLC
Connecticut Telephone & Communication Systems, Inc.
Conversent Communications Long Distance, LLC
Conversent Communications of Connecticut, LLC
Conversent Communications of Maine, LLC
Conversent Communications of Massachusetts, Inc.
Conversent Communications of New Hampshire, LLC
Conversent Communications of New Jersey, LLC
Conversent Communications of New York, LLC
Conversent Communications of Pennsylvania, LLC
Conversent Communications of Rhode Island, LLC
Conversent Communications of Vermont, LLC
Conversent Communications Resale, L.L.C.
CoreComm Communications, LLC
CoreComm-ATX, Inc.
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CTC Communications Corporation
CTC Communications of Virginia, Inc.
D&E Communications, LLC
D&E Management Services, Inc.
D&E Networks, Inc.
D&E Wireless, Inc.
DeltaCom, LLC
EarthLink Business, LLC
EarthLink Carrier, LLC
Equity Leasing, Inc.
Eureka Broadband Corporation
Eureka Holdings, LLC
Eureka Networks, LLC
Eureka Telecom of VA, Inc.
Eureka Telecom, Inc.
Georgia Windstream, LLC
Heart of the Lakes Cable Systems, Inc.
Infocore, Inc.
InfoHighway Communications Corporation
Info-Highway International, Inc.
InfoHighway of Virginia, Inc.
Intellifiber Networks, LLC
Iowa Telecom Data Services, L.C.
Iowa Telecom Technologies, LLC
IWA Services, LLC
KDL Holdings, LLC
LDMI Telecommunications, LLC
Lightship Telecom, LLC
MASSCOMM, LLC
McLeodUSA Information Services LLC
McLeodUSA Purchasing, L.L.C.
McLeodUSA Telecommunications Services, L.L.C.
MPX, Inc.
Nashville Data Link, LLC
Network Telephone, LLC
Norlight Telecommunications of Virginia, LLC
Oklahoma Windstream, LLC
Open Support Systems, LLC
PaeTec Communications of Virginia, LLC
PaeTec Communications, LLC
PAETEC Holding, LLC
PAETEC iTel, L.L.C.
PAETEC Realty LLC
PAETEC, LLC
PCS Licenses, Inc.
Progress Place Realty Holding Company, LLC
RevChain Solutions, LLC
SM Holdings, LLC
Southwest Enhanced Network Services, LLC
Talk America of Virginia, LLC
Talk America, LLC
Teleview, LLC
Texas Windstream, LLC
The Other Phone Company, LLC
Trinet, LLC
TruCom Corporation


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US LEC Communications LLC
US LEC of Alabama LLC
US LEC of Florida LLC
US LEC of Georgia LLC
US LEC of Maryland LLC
US LEC of North Carolina LLC
US LEC of Pennsylvania LLC
US LEC of South Carolina LLC
US LEC of Tennessee LLC
US LEC of Virginia LLC
US Xchange of Illinois, L.L.C.
US Xchange of Indiana, L.L.C.
US Xchange of Michigan, L.L.C.
US Xchange of Wisconsin, L.L.C.
US Xchange, Inc.
Valor Telecommunications of Texas, LLC
WaveTel NC License Corporation
WIN Sales & Leasing, Inc.
Windstream Accucomm Networks, LLC
Windstream Accucomm Telecommunications, LLC
Windstream Alabama, LLC
Windstream Arkansas, LLC
Windstream Buffalo Valley, Inc.
Windstream Business Holdings, LLC
Windstream BV Holdings, LLC
Windstream Cavalier, LLC
Windstream Communications Kerrville, LLC
Windstream Communications Telecom, LLC
Windstream Communications, LLC
Windstream Concord Telephone, LLC
Windstream Conestoga, Inc.
Windstream CTC Internet Services, Inc.
Windstream D&E Systems, LLC
Windstream D&E, Inc.
Windstream Direct, LLC
Windstream Eagle Holdings, LLC
Windstream Eagle Services, LLC
Windstream EN-TEL, LLC
Windstream Finance Corp.
Windstream Florida, LLC
Windstream Georgia Communications, LLC
Windstream Georgia Telephone, LLC
Windstream Georgia, LLC
Windstream Holding of the Midwest, Inc.
Windstream Iowa Communications, LLC
Windstream Iowa-Comm, LLC
Windstream IT-Comm, LLC
Windstream KDL, LLC
Windstream KDL-VA, LLC
Windstream Kentucky East, LLC
Windstream Kentucky West, LLC
Windstream Kerrville Long Distance, LLC
Windstream Lakedale Link, Inc.
Windstream Lakedale, Inc.
Windstream Leasing, LLC
Windstream Lexcom Communications, LLC


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Windstream Lexcom Entertainment, LLC
Windstream Lexcom Long Distance, LLC
Windstream Lexcom Wireless, LLC
Windstream Mississippi, LLC
Windstream Missouri, LLC
Windstream Montezuma, LLC
Windstream Nebraska, Inc.
Windstream Network Services of the Midwest, Inc.
Windstream New York, Inc.
Windstream Norlight, LLC
Windstream North Carolina, LLC
Windstream NorthStar, LLC
Windstream NTI, LLC
Windstream NuVox Arkansas, LLC
Windstream NuVox Illinois, LLC
Windstream NuVox Indiana, LLC
Windstream NuVox Kansas, LLC
Windstream NuVox Missouri, LLC
Windstream NuVox Ohio, LLC
Windstream NuVox Oklahoma, LLC
Windstream NuVox, LLC
Windstream of the Midwest, Inc.
Windstream Ohio, LLC
Windstream Oklahoma, LLC
Windstream Pennsylvania, LLC
Windstream Services, LLC
Windstream SHAL Networks, Inc.
Windstream SHAL, LLC
Windstream Shared Services, LLC
Windstream South Carolina, LLC
Windstream Southwest Long Distance, LLC
Windstream Standard, LLC
Windstream Sugar Land, LLC
Windstream Supply, LLC
Windstream Systems of the Midwest, Inc.
Windstream Western Reserve, LLC
XETA Technologies, Inc.




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                                     Exhibit B

                                Hessler Declaration
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    WINDSTREAM HOLDINGS, INC., et al.,1                         )        Case No. 19-22312 (RDD)
                                                                )
                                       Debtors.                 )        (Jointly Administered)
                                                                )

                       DECLARATION OF STEPHEN E. HESSLER
                    IN SUPPORT OF THE DEBTORS’ APPLICATION
             (I) AUTHORIZING THE RETENTION AND EMPLOYMENT OF
       KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP
                  AS ATTORNEYS FOR THE DEBTORS AND DEBTORS
        IN POSSESSION EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

             I, Stephen E. Hessler, being duly sworn, state the following under penalty of perjury:

             1.     I am the president of Stephen E. Hessler, P.C., a partner of the law firm of Kirkland

& Ellis LLP, located at 601 Lexington Avenue, New York, New York 10022, and a partner of

Kirkland & Ellis International, LLP (together with Kirkland & Ellis LLP, collectively,

“Kirkland”).2 I am one of the lead attorneys from Kirkland working on the above-captioned

chapter 11 cases. I am a member in good standing of the Bar of the State of New York, and I have

been admitted to practice in the United States Bankruptcy Court for the Southern District of New

York. There are no disciplinary proceedings pending against me.




1     The last four digits of Debtor Windstream Holdings, Inc.’s tax identification number are 7717. Due to the large
      number of Debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of
      the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing
      agent at http://www.kccllc.net/windstream. The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 4001 North Rodney Parham Road, Little Rock, Arkansas 72212.
2     Capitalized terms used but not otherwise defined herein shall have the meaning as set forth in the Application.
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        2.       I submit this declaration (the “Declaration”) in support of the Debtors’ Application

Authorizing the Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis

International LLP as Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro

Tunc to the Petition Date (the “Application”).3 Except as otherwise noted, I have personal

knowledge of the matters set forth herein.

                                          Kirkland’s Qualifications

        4.       The Debtors seek to retain Kirkland because of Kirkland’s recognized expertise and

extensive experience and knowledge in the field of debtors’ protections, creditors’ rights, and

business reorganizations under chapter 11 of the Bankruptcy Code.

        5.       Kirkland has been actively involved in major chapter 11 cases in this District and

has represented debtors in many cases, including, among others: In re FULLBEAUTY Brands

Holdings Corp., No. 19-22185 (RDD) (Bankr. S.D.N.Y. Mar. 9, 2019); In re Aegean Petroleum

Network Inc., No. 18-13374 (MEW) (Bankr. S.D.N.Y. Nov. 6, 2018); In re Nine West Holdings,

Inc., No. 18-10947 (SCC) (Bankr. S.D.N.Y. June 29, 2018); In re Cenveo, Inc., No. 18-22178

(RDD) (Bankr. S.D.N.Y. Mar. 8, 2018); In re BCBG Max Azria Global Holdings, LLC, No. 17-

10466 (SCC) (Bankr. S.D.N.Y. Mar. 29, 2017); In re Avaya Inc., No. 17-10089 (SMB) (Bankr.

S.D.N.Y. Jan. 19, 2017); and In re Sabine Oil & Gas Corp., No. 15-11835 (SCC) (Bankr. S.D.N.Y.

Sept. 10, 2015).4

        6.       In preparing for its representation of the Debtors in these chapter 11 cases, Kirkland

has become familiar with the Debtors’ businesses and many of the potential legal issues that may



3   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
4   Because of the voluminous nature of the orders cited in this Declaration, they are not attached to the application.
    Copies of these orders are available upon request to Kirkland.

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arise in the context of these chapter 11 cases. I believe that Kirkland is both well-qualified and

uniquely able to represent the Debtors in these chapter 11 cases in an efficient and timely manner.

                                      Services to Be Provided

       7.      Subject to further order of the Court and that certain engagement letter dated August

25, 2017 (the “Engagement Letter”), a copy of which is attached as Exhibit 1 to Exhibit A to the

Application, the Debtors retained Kirkland to render, without limitation, the following legal

services:

               a.       advising the Debtors with respect to its powers and duties as debtor in
                        possession in the continued management and operation of its businesses and
                        properties;

               b.       advising and consulting on the conduct of these chapter 11 cases, including
                        all of the legal and administrative requirements of operating in chapter 11;

               c.       attending meetings and negotiating with representatives of creditors and
                        other parties in interest;

               d.       taking all necessary actions to protect and preserve the Debtors’ estates,
                        including prosecuting actions on the Debtors’ behalf, defending any action
                        commenced against the Debtors, and representing the Debtors in
                        negotiations concerning litigation in which the Debtors are involved,
                        including objections to claims filed against the Debtors’ estates;

               e.       preparing pleadings in connection with these chapter 11 cases, including
                        motions, applications, answers, orders, reports, and papers necessary or
                        otherwise beneficial to the administration of the Debtors’ estates;

               f.       representing the Debtors in connection with obtaining authority to continue
                        using cash collateral and postpetition financing;

               g.       advising the Debtors in connection with any potential sale of assets;

               h.       appearing before the Court and any appellate courts to represent the interests
                        of the Debtors’ estates;

               i.       advising the Debtors regarding tax matters;

               j.       taking any necessary action on behalf of the Debtors to negotiate, prepare,
                        and obtain approval of a disclosure statement and confirmation of a chapter
                        11 plan and all documents related thereto; and
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                  k.       performing all other necessary legal services for the Debtors in connection
                           with the prosecution of these chapter 11 cases, including: (i) analyzing the
                           Debtors’ leases and contracts and the assumption and assignment or
                           rejection thereof; (ii) analyzing the validity of liens against the Debtors; and
                           (iii) advising the Debtors on corporate and litigation matters.

                                         Professional Compensation

        8.        Kirkland intends to apply for compensation for professional services rendered on

an hourly basis and reimbursement of expenses incurred in connection with these chapter 11 cases,

subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

the Court. The hourly rates and corresponding rate structure Kirkland will use in these chapter 11

cases are the same as the hourly rates and corresponding rate structure that Kirkland uses in other

debtor representations, and are comparable to the hourly rates and corresponding rate structure that

Kirkland uses for complex corporate, securities, and litigation matters whether in court or

otherwise, regardless of whether a fee application is required. These rates and the rate structure

reflect that such restructuring and other complex matters typically are national in scope and involve

great complexity, high stakes, and severe time pressures.

        9.        Kirkland operates in a national marketplace for legal services in which rates are

driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

        10.       Kirkland’s current hourly rates for matters related to these chapter 11 cases range

as follows:5




5   For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
    currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable
    conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
    the billing rates listed in the chart herein. While the rate ranges provided for in this application may change if an
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                                Billing Category6                   U.S. Range
                                     Partners                      $1,025–$1,795
                                    Of Counsel                      $595–$1,705
                                    Associates                      $595–$1,125
                                Paraprofessionals                    $235–$460

        11.      Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

the work of its attorneys and paralegals and to cover fixed and routine expenses. Hourly rates vary

with the experience and seniority of the individuals assigned. These hourly rates are subject to

periodic adjustments.7

        12.      It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

non-overhead expenses incurred in connection with the client’s case that would not have been

incurred except for representation of that particular client. It is also Kirkland’s policy to charge

its clients only the amount actually incurred by Kirkland in connection with such items. Examples

of such expenses include postage, overnight mail, courier delivery, transportation, overtime

expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

        13.      To ensure compliance with all applicable deadlines in these chapter 11 cases,

Kirkland utilizes the services of overtime secretaries. Kirkland charges fees for these services


    individual leaves or joins Kirkland, and if any such individual’s billing rate falls outside the ranges disclosed
    above, Kirkland does not intend to update the ranges for such circumstances.
6   Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
    that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
    to fees billed by such attorneys. Moreover, any contract attorneys or non-attorneys who are employed by the
    Debtors in connection with work performed by Kirkland will be subject to conflict checks and disclosures in
    accordance with the requirements of the Bankruptcy Code.
7   For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
    paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
    basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and
    paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
    used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
    Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
    the Order, Kirkland will provide ten business days’ notice to the Debtors, the U.S. Trustee, and any official
    committee before implementing any periodic increases, and shall file such notice with the Court.

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pursuant to the Engagement Letter between Kirkland and the Debtors, which permits Kirkland to

bill the Debtors for overtime secretarial charges that arise out of business necessity. In addition,

Kirkland professionals also may charge their overtime meals and overtime transportation to the

Debtors consistent with the Amended Guidelines for Fees and Disbursements for Professionals in

Southern District of New York Cases (the “Amended Guidelines”) and the Local Rules.

       14.     Kirkland currently charges $0.16 per page for standard duplication in its offices in

the United States. Notwithstanding the foregoing and consistent with the Amended Guidelines

and Local Rules, Kirkland will charge no more than $0.10 per page for standard duplication

services in these chapter 11 cases. Kirkland does not charge its clients for incoming facsimile

transmissions. Kirkland has negotiated a discounted rate for Westlaw computer-assisted legal

research. Computer-assisted legal research is used whenever the researcher determines that using

Westlaw is more cost effective than using traditional (non-computer assisted legal research)

techniques.

                    Compensation Received by Kirkland from the Debtors

       15.     Per the terms of the Engagement Letter, on November 15, 2017, the Debtors paid

$4,000,000.00 to Kirkland, which, as stated in the Engagement Letter, constituted an “advance

payment retainer” as defined in Rule 1.15(c) of the Illinois Rules of Professional Conduct and

Dowling v. Chicago Options Assoc., Inc., 875 N.E.2d 1012, 1018 (Ill. 2007). Subsequently, the

Debtors paid to Kirkland additional advance payment retainer totaling $15,974,146.75 in the

aggregate. As stated in the Engagement Letter, any advance payment retainer is earned by

Kirkland upon receipt, any advance payment retainer becomes the property of Kirkland upon

receipt, the Debtors no longer have a property interest in any advance payment retainer upon

Kirkland’s receipt, any advance payment retainer will be placed in Kirkland’s general account and

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will not be held in a client trust account, and the Debtors will not earn any interest on any advance

payment retainer.8

        16.       As of the Petition Date, the Debtors did not owe Kirkland any amounts for legal

services rendered before the Petition Date. Although certain expenses and fees may have been

incurred, but not yet applied to Kirkland’s advance payment retainer, Kirkland’s total advance

payment retainer exceeds amounts listed or to be listed on statements describing services rendered

and expenses incurred (on a “rates times hours” and “dates of expenses incurred” basis) prior to

the Petition Date.

        17.       Pursuant to Bankruptcy Rule 2016(b), Kirkland has not shared nor agreed to share

(a) any compensation it has received or may receive with another party or person, other than with

the partners, associates, and contract attorneys associated with Kirkland or (b) any compensation

another person or party has received or may receive.

                             Statement Regarding U.S. Trustee Guidelines

        18.       Kirkland shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

Kirkland also intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

information and additional disclosures as set forth in the Guidelines for Reviewing Applications




8   The Engagement Letter provides that Kirkland may continue to hold any remaining prepetition advance payment
    retainer during the pendency of a chapter 11 case rather than applying such advance payment retainer to
    postpetition fees and expenses. Kirkland evaluates whether to retain any remaining prepetition advance payment
    retainer on a case-by-case basis. In this particular case, Kirkland has elected not to hold any remaining prepetition
    advance payment retainer but, instead, will apply any remaining advance payment retainer to postpetition fees
    and expenses as such fees and expenses are allowed by the Court.

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for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 Cases Effective As of November 1, 2013 (the “Revised UST Guidelines”), both

in connection with this application and the interim and final fee applications to be filed by Kirkland

in these chapter 11 cases.

                   Attorney Statement Pursuant to Revised UST Guidelines

       19.     The following is provided in response to the request for additional information set

forth in Paragraph D.1. of the Revised UST Guidelines:

               a. Question: Did Kirkland agree to any variations from, or alternatives to,
                  Kirkland’s standard billing arrangements for this engagement?

                   Answer: No. Kirkland and the Debtors have not agreed to any variations from,
                   or alternatives to, Kirkland’s standard billing arrangements for this
                   engagement. The rate structure provided by Kirkland is appropriate and is not
                   significantly different from (a) the rates that Kirkland charges for other
                   non-bankruptcy representations or (b) the rates of other comparably skilled
                   professionals.

               b. Question: Do any of the Kirkland professionals in this engagement vary their
                  rate based on the geographic location of the Debtors’ chapter 11 cases?

                   Answer: No. The hourly rates used by Kirkland in representing the Debtors are
                   consistent with the rates that Kirkland charges other comparable chapter 11
                   clients, regardless of the location of the chapter 11 case.

               c. Question: If Kirkland has represented the Debtors in the 12 months prepetition,
                  disclose Kirkland’s billing rates and material financial terms for the prepetition
                  engagement, including any adjustments during the 12 months prepetition. If
                  Kirkland’s billing rates and material financial terms have changed postpetition,
                  explain the difference and the reasons for the difference.




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                      Answer: Kirkland’s current hourly rates for services rendered on behalf of the
                      Debtors range as follows:


                                Billing Category                    U.S. Range
                                     Partners                      $1,025–$1,795
                                   Of Counsel                       $595–$1,705
                                    Associates                      $595–$1,125
                                Paraprofessionals                    $235–$460


                      From February 25, 2018, to December 31, 2018, Kirkland’s hourly rates for
                      services rendered on behalf of the Debtors ranged as follows:9


                                Billing Category                    U.S. Range
                                     Partners                       $975–$1,795
                                   Of Counsel                       $575–$1,795
                                    Associates                      $575–$1,065
                                Paraprofessionals                    $220–$440


                 d. Question: Have the Debtors approved Kirkland’s budget and staffing plan,
                    and, if so, for what budget period?

                      Answer: Yes, for the period from February 25, 2019, through June 25, 2019.

                                        Kirkland’s Disinterestedness

        20.      In connection with its proposed retention by the Debtors in these chapter 11 cases,

Kirkland undertook to determine whether it had any conflicts or other relationships that might

cause it not to be disinterested or to hold or represent an interest adverse to the Debtors.

Specifically, Kirkland obtained from the Debtors and their representatives the names of individuals

and entities that may be parties in interest in these chapter 11 cases (the “Potential Parties in

Interest”) and such parties are listed on Schedule 1 hereto. Kirkland has searched on its electronic




9   While the rate ranges provided for in this application may change if an individual leaves or joins Kirkland, and if
    any such individual’s billing rate falls outside the ranges disclosed above, Kirkland does not intend to update the
    ranges for such circumstances.

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database for its connections to the entities listed on Schedule 1 hereto. To the extent that I have

been able to ascertain that Kirkland has been retained within the last three years to represent any

of the Potential Parties in Interest (or their affiliates, as the case may be) in matters unrelated to

these cases, such facts are disclosed on Schedule 2 attached hereto.

          21.       Kirkland and certain of its partners and associates may have in the past represented,

may currently represent, and likely in the future will represent, entities that may be parties in

interest in these chapter 11 cases in connection with matters unrelated (except as otherwise

disclosed herein) to the Debtors and these chapter 11 cases. Kirkland has searched on its electronic

database for its connection to the entities listed on Schedule 1 attached hereto. The information

listed on Schedule 1 may have changed without our knowledge and may change during the

pendency of these chapter 11 cases. Accordingly, Kirkland will update this Declaration as

necessary and when Kirkland becomes aware of additional material information. The following

is a list of the categories that Kirkland has searched:10



     Schedule     Category
     1(a)         Current & Former Officers & Directors
     1(b)         Debtor Affiliates
     1(c)         Equity Holders
     1(d)         Bank Lenders and UCC Search Parties
     1(e)         Bankruptcy Judges, US Trustees, and Court Contacts for the Southern District of New York
     1(f)         Bankruptcy Professionals
     1(g)         Contract Counterparties
     1(h)         Creditors' Committee Members
     1(i)         Governmental Units and Regulators
     1(j)         Individual Bondholders and Indenture Trustees
     1(k)         Insurers

10    Kirkland’s inclusion of parties in the following Schedules is solely to illustrate Kirkland’s conflict search process
      and is not an admission that any party has a valid claim against the Debtors or that any party properly belongs in
      the schedules or has a claim or legal relationship to the Debtors of the nature described in the schedules.

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     1(l)         Litigation Counterparties
     1(m)         Professionals
     1(n)         Surety Issuers
     1(o)         Top 50 Creditors
     1(p)         Unions
     1(q)         Vendors

            22.     To the best of my knowledge, (a) Kirkland is a “disinterested person” within the

meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the

Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates and

(b) Kirkland has no connection to the Debtors, their creditors, or other parties in interest, except

as may be disclosed in this Declaration.

            23.     Listed on Schedule 2 to this Declaration are the results of Kirkland’s conflicts

searches of the above-listed entities.11 For the avoidance of doubt, Kirkland will not commence a

cause of action in these chapter 11 cases against the entities listed on Schedule 2 that are current

clients of Kirkland (including entities listed below under the “Specific Disclosures” section of this

Declaration) unless Kirkland has an applicable waiver on file or first receives a waiver from such

entity allowing Kirkland to commence such an action. To the extent that a waiver does not exist




11    As referenced in Schedule 2, the term “current client” means an entity listed as a client in Kirkland’s conflicts
      search system to whom time was posted in the 12 months preceding the Petition Date. As referenced in
      Schedule 2, the term “former client” means an entity listed as a client in Kirkland’s conflicts search system to
      whom time was posted between 12 and 36 months preceding the Petition Date. As referenced in Schedule 2, the
      term “closed client” means an entity listed as a client in Kirkland’s conflicts search system to whom time was
      posted in the 36 months preceding the Petition Date, but for which the client representation has been closed.
      Whether an actual client relationship exists can only be determined by reference to the documents governing
      Kirkland’s representation rather than its potential listing in Kirkland’s conflicts search system. The list generated
      from Kirkland’s conflicts search system is over-inclusive. As a general matter, Kirkland discloses connections
      with “former clients” or “closed clients” for whom time was posted in the last 36 months, but does not disclose
      connections if time was billed more than 36 months before the Petition Date.

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or is not obtained from such entity and it is necessary for the Debtors to commence an action

against that entity, the Debtors will be represented in such particular matter by conflicts counsel.12

         24.    Of the entities listed on Schedule 2, only two entities represented more than one

percent of Kirkland’s fee receipts for the twelve-month period ending on February 28, 2019.

Specifically, Bain Capital, LP and/or certain of its affiliates (“Bain”) is a lender and Visa Equity

Partners and/or certain of its affiliates (“Vista”) is an equity holder in these chapter 11 cases. Bain

and Vista represent more than one percent of Kirkland’s fee receipts for the twelve-month period

ending on February 28, 2019. I do not believe Kirkland’s representation of these parties precludes

Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

         25.     Kirkland’s conflicts search of the entities listed on Schedules 1(a)–1(q) (that

Kirkland was able to locate using its reasonable efforts) reveals, to the best of Kirkland’s

knowledge, that those Kirkland attorneys and paraprofessionals who previously worked at other

law firms that represented such entities in these chapter 11 cases have not worked on matters

relating to the Debtors’ restructuring efforts while at Kirkland.

         26.     Based on the conflicts search conducted to date and described herein, to the best of

my knowledge, neither I, Kirkland, nor any partner or associate thereof, insofar as I have been able

to ascertain, have any connection with the Debtors, their creditors, or any other parties in interest,

their respective attorneys and accountants, the Office of the United States Trustee for the Southern

District of New York (the “U.S. Trustee”), any person employed by the U.S. Trustee, or any




12   Contemporaneously with the filing of the Application, the Debtors also are seeking to retain Katten Muchin
     Rosenman LLP as conflicts counsel pursuant to the Debtors’ Application for the Entry of an Order Authorizing
     the Retention and Employment of Katten Muchin Rosenman LLP as Conflicts Counsel for the Debtors and
     Debtors in Possession Nunc Pro Tunc to the Petition Date.

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Bankruptcy Judge currently serving on the United States Bankruptcy Court for the Southern

District of New York, except as disclosed or otherwise described herein.

       27.     Kirkland will review its files periodically during the pendency of these chapter 11

cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).

       28.     Generally, it is Kirkland’s policy to disclose entities in the capacity that they first

appear in a conflicts search. For example, if an entity already has been disclosed in this Declaration

in one capacity (e.g., a customer), and the entity appears in a subsequent conflicts search in a

different capacity (e.g., a vendor), Kirkland does not disclose the same entity again in supplemental

declarations, unless the circumstances are such in the latter capacity that additional disclosure is

required.

       29.     From time to time, Kirkland has referred work to other professionals to be retained

in these chapter 11 cases. Likewise, certain such professionals have referred work to Kirkland.

       30.     Certain insurance companies pay the legal bills of Kirkland clients. Some of these

insurance companies may be involved in these chapter 11 cases. None of these insurance

companies, however, are Kirkland clients as a result of the fact that they pay legal fees on behalf

of Kirkland clients.

                                       Specific Disclosures

       31.     As specifically set forth below and in the attached exhibits, Kirkland represents

certain of the Debtors’ creditors, equity security holders, or other entities that may be parties in

interest in ongoing matters unrelated to the Debtors and these chapter 11 cases. None of the

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representations described herein are materially adverse to the interests of the Debtors’ estates.

Moreover, pursuant to section 327(c) of the Bankruptcy Code, Kirkland is not disqualified from

acting as the Debtors’ counsel merely because it represents certain of the Debtors’ creditors, equity

security holders, or other entities that may be parties in interest in matters unrelated to these chapter

11 cases.

A.      Connections to Holders of Claims Against and Equity Interests in the Debtors.

        32.   As disclosed on Schedule 2, Kirkland currently represents and/or in the past has

represented Elliott Management Corporation and Evergreen Coast Capital Corp and certain of their

affiliates (“Elliott”), Citadel LLC and Citadel Securities LLC and certain of their affiliates

(“Citadel”), and BMO Capital Markets and certain of its affiliates (“BMO”) in various matters.

Elliott, Citadel, and BMO are equity holders in these chapter 11 cases. All prior and current

Kirkland representations of such entities have been in matters unrelated to the Debtors or these

chapter 11 cases. I do not believe Kirkland’s representation of these parties precludes Kirkland

from meeting the disinterestedness standard under the Bankruptcy Code.

        33.   Kirkland currently represents, and in the past has represented, U.S. Bank National

Association and certain of its affiliates (“U.S. Bank”) and Bank of America, N.A. and certain of

its affiliates (“Bank of America”), respectively, on a variety of matters. U.S. Bank is a lender and

indenture trustee under certain obligations in these cases. Bank of America is a lender and equity

holder in these chapter 11 cases. All prior and current Kirkland representations of U.S. Bank and

Bank of America have been in matters unrelated to the Debtors or these chapter 11 cases. I do not

believe Kirkland’s representation of these parties precludes Kirkland from meeting the

disinterestedness standard under the Bankruptcy Code.




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       34.   The spouse of Kirkland partner Helen E. Witt, P.C. is a managing director of

JPMorgan Chase & Co., JPMorgan Chase Bank, N.A., or certain of its affiliates are among the

equity holders and serves as administrative agent under certain prepetition debt obligations in these

chapter 11 cases. Kirkland has instituted formal screening measures to screen Ms. Witt from all

aspects of Kirkland’s representation of the Debtors.

       35.   As disclosed on Schedule 2, certain of the Debtors’ current or potential creditors or

equity holders or their affiliates are current, former, or closed clients of Kirkland. I do not believe

that Kirkland’s current and former representations of the affiliates, subsidiaries, and/or entities

associated with the equity holders, lenders, and debt holders precludes Kirkland from being a

disinterested party under the Bankruptcy Code.

B.     Connections to Officers and Directors.

       36.     As disclosed below and in Schedule 2 attached hereto, Kirkland currently

represents, and has formally represented, certain affiliates, subsidiaries and entities associated with

the Debtors’ current and recent former officers and directors. Kirkland does not believe that its

current and prior representation of the affiliates, subsidiaries, and entities associated with certain

officers and directors precludes it from being a disinterested party under the Bankruptcy Code.

       37.   Walter L. Turek, a current director of Windstream Holdings, Inc. and Windstream

Services, LLC, one of the Debtors in these chapter 11 cases, is serving, has served, or may serve

from time to time in various management and/or director capacities of other active and inactive

Kirkland clients. I do not believe Kirkland’s current or prior representations of clients for which

Mr. Turek serves in a management and/or director capacities precludes Kirkland from meeting the

disinterestedness standard under the Bankruptcy Code.




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C.     Connections to Other Entities.

       38.   As disclosed in Schedule 2 certain of the Debtors or other entities associated with

the Debtors are creditors of entities that Kirkland currently represents or has represented in

bankruptcy proceedings or post-effective date claims processes. These entities and certain of their

affiliates include (a) the Independent Directors of Toshiba Nuclear Energy Holdings (UK) Limited,

(b) American Tire Distributors Holdings, Inc., (c) Avaya Inc. (“Avaya”), (d) The Gymboree

Corporation, (e) Charming Charlie Holdings Inc., (f) iHeartMedia, Inc., (g) Metro Fuel Oil Corp.,

(h) Caesars Entertainment Operating Company, and (i) BCBG Max Azria Global Holdings, LLC.

Kirkland’s previous and current representations of these parties are unrelated to these chapter 11

cases. Similarly, certain parties in interest, including Avaya, in these chapter 11 cases are current

or former Kirkland restructuring clients. Kirkland will not represent the Debtors in any matter

related to other Kirkland clients’ bankruptcy proceedings. In addition, Kirkland will not represent

any of its other restructuring clients against the Debtors in any of its other clients’ restructuring

matters. Kirkland’s other chapter 11 representations are unrelated to these chapter 11 cases or the

Debtors.     I do not believe these representations preclude Kirkland from meeting the

disinterestedness standard under the Bankruptcy Code.

       39.     As disclosed on Schedule 2 Kirkland has represented Ligado Networks LLC

(“Ligado”) regarding potential litigation involving Earthlink Carrier, LLC. Kirkland will not

represent Ligado in matters related to the Debtors or their chapter 11 cases during the pendency of

these chapter 11 cases. I do not believe that this representation precludes Kirkland from meeting

the disinterestedness standard under the Bankruptcy Code.

       40.   As disclosed on Schedule 2, Kirkland has represented Siris Capital Group, LLC

(“Siris”) in matters related to financing the acquisition of an entity formerly affiliated with the

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Debtors. Kirkland will not represent Siris in matters related to the Debtors or their chapter 11

cases during the pendency of these chapter 11 cases. I do not believe that this representation

precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

       41.   As disclosed on Schedule 2 Kirkland currently represents and/or has represented in

the past AT&T Services, Inc., Verizon Communications Inc., Metaswitch Networks Ltd., Charter

Communications Inc., Comcast Corporation, Time Warner Cable, Sirius Computer Solutions Inc.,

Frontier Communications Corporation, Tata Consultancy Services Limited, and certain other

creditors and/or certain of their respective affiliates (collectively, the “Creditors”) in matters

unrelated to the Debtors and these chapter 11 cases. Kirkland will not represent the Creditors in

matters related to the Debtors or these chapter 11 cases. I do not believe that these representations

preclude Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

       42.   As disclosed on Schedule 2 Kirkland has represented in the past Argo Group

International Holdings Ltd. and/or certain of its affiliates (the “Surety Issuer”) in matters unrelated

to the Debtors and these chapter 11 cases. Kirkland will not represent the Surety Issuer in matters

related to the Debtors and these chapter 11 cases. I do not believe that this representation precludes

Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

       43.    As disclosed on Schedule 2 Kirkland currently represents, formerly represented, and

in the future likely will represent Kohlberg Kravis Roberts & Co. L.P. and its affiliated investment

funds, TPG Sixth Street Partners, LLC, and certain of its affiliates, Searchlight Capital Partners,

L.P. and certain of its affiliates, and other firms and their affiliates on a variety of matters. These

entities hold equity interests in certain parties in interest in these chapter 11 cases, including Uniti

Group Inc. All of Kirkland’s current and former representations of these entities have been




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unrelated to the Debtors and these chapter 11 cases. I do not believe that these representations

preclude Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

D.     Other Chapter 11 Professionals.

       44.     As disclosed in Schedule 2 attached hereto, Kirkland currently represents, and

formerly has represented, certain affiliates, subsidiaries, and entities associated with various

professionals that the Debtors seeks to retain in connection with these chapter 11 cases. All prior

and current Kirkland representations of these professionals have been in matters unrelated to the

Debtors and these chapter 11 cases. Kirkland has not represented and will not represent any such

professionals in connection with any matter in these chapter 11 cases.

       45.   The Debtors’ proposed investment banker is PJT Partners LP (“PJT”) for these

chapter 11 cases. As disclosed in Schedule 2 attached hereto, Kirkland has represented and

currently represents certain affiliates of PJT in a variety of matters. Kirkland has not represented

and will not represent PJT or any of its affiliates in these chapter 11 cases or any matters related

to the Debtors. I do not believe that Kirkland’s representation of these parties precludes it from

meeting the disinterestedness standard under the Bankruptcy Code.

       46.   The Debtors’ proposed restructuring advisor is Alvarez & Marsal North America,

LLC (“A&M Advisory”) for these chapter 11 cases. As disclosed in Schedule 2 attached hereto,

Kirkland represents Alvarez & Marsal, Inc. (“A&M Inc.”), Alvarez & Marsal Capital, LLC

(“A&M Capital”), AMCP Security Holdings L.P. / Centerra Group, LLC, Alvarez & Marsal Tax

and UK LLP, and affiliated entities in matters unrelated to the Debtors and these chapter 11 cases.

In addition, subject to the parameters discussed in the Kirkland Attorney and Employee

Investments section of this Declaration, Kirkland person(s) have invested in A&M Fund. I do not




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believe that Kirkland’s representation of these parties precludes it from meeting the

disinterestedness standard under the Bankruptcy Code.

       47.   The Debtors’ notice and claims agent is Kurtzman Carson Consultants LLC (“KCC”)

for these chapter 11 cases. As disclosed in Schedule 2 attached hereto, Kirkland represented

Computershare Limited and related entities (collectively, “Computershare”) in matters unrelated

to the Debtors and these chapter 11 cases. Computershare is affiliated with KCC. KCC currently

employs certain former Kirkland attorneys and professionals. Although such former employees

are currently employed at KCC, any work provided by these prior Kirkland employees is unrelated

to the Debtors and these chapter 11 cases. I do not believe these connections preclude Kirkland

from meeting the disinterestedness standard under the Bankruptcy Code.

       48.   Certain of the Debtors’ contract counterparties have retained Rothschild & Co.

(“Rothschild”) as their financial advisor and investment banker. As disclosed in Schedule 2

attached hereto, Kirkland has represented and currently represents Rothschild Inc. and Five

Arrows Principal Investments, affiliates of Rothschild, and certain other affiliates and Todd R.

Snyder, who was formally employed at Rothschild in matters unrelated to the Debtors and these

chapter 11 cases. I do not believe that these connections preclude Kirkland from meeting the

disinterestedness standard under the Bankruptcy Code.

       49.   Certain of the Debtors’ lenders have retained Evercore Group L.L.C. (“Evercore”) as

their investment banker. As disclosed in Schedule 2 attached hereto, Kirkland has represented

and currently represents Evercore Partners Inc., an affiliate of Evercore, and certain other affiliates

in matters unrelated to the Debtors and these chapter 11 cases. I do not believe that this

representation precludes Kirkland from meeting the the disinterestedness standard under the

Bankruptcy Code.

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       50.   Certain parties in interest have retained professionals in these chapter 11 cases,

including certain lenders that have retained Houlihan Lokey, Inc. (“Houlihan”) as their investment

banker. As disclosed in Schedule 2 attached hereto, Kirkland has represented and/or currently

represents Houlihan Lokey EMEA, LLP, an affiliate of Houlihan, Public Sector Pension

Investment Board, Caisse de dépôt et placement du Québec, Investcorp, and a certain employee of

Investcorp and certain other affiliates that are related to such retained professionals in matters

unrelated to the Debtors and these chapter 11 cases. I do not believe that these representations

preclude Kirkland from meeting the the disinterestedness standard under the Bankruptcy Code.

       51.   The official committee of unsecured creditors proposed restructuring advisor is

AlixPartners, LLP (“AlixPartners”). As disclosed in Schedule 2, attached hereto, Kirkland has

represented and currently represents the Public Sector Pension Investment Board and Investcorp,

affiliates of AlixPartners, and certain other affiliates in matters unrelated to these chapter 11 cases.

I do not believe that this representation precludes Kirkland from meeting the the disinterestedness

standard under the Bankruptcy Code.

E.     Kirkland Attorney and Employee Investments.

       52.     From time to time, Kirkland partners, of counsel, associates, and employees

personally invest in mutual funds, retirement funds, private equity funds, venture capital funds,

hedge funds, and other types of investment funds (the “Investment Funds”), through which such

individuals indirectly acquire an interest in debt or equity securities of many companies, one of

which may be one of the Debtors, their creditors, or other parties in interest in these chapter 11

cases, often without Kirkland’s knowledge. Each Kirkland person generally owns substantially

less than one percent of such Investment Fund, does not manage or otherwise control such

Investment Fund, and has no influence over the Investment Fund’s decision to buy, sell, or vote

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any particular security. The Investment Fund is generally operated as a blind pool, meaning that

when the Kirkland persons make an investment in the Investment Fund, he, she, or they do not

know what securities the blind pool Investment Fund will purchase or sell, and have no control

over such purchases or sales.

       53.     From time to time one or more Kirkland partners and of counsel voluntarily choose

to form an entity (a “Passive-Intermediary Entity”) to invest in one or more Investment Funds.

Such Passive-Intermediary Entity is composed only of persons who were Kirkland partners and of

counsel at the time of the Passive-Intermediary Entity’s formation (although some may later

become former Kirkland partners and of counsel). Participation in such a Passive-Intermediary

Entity is wholly voluntary and only a portion of Kirkland’s partners and of counsel choose to

participate. The Passive-Intermediary Entity generally owns substantially less than one percent of

any such Investment Fund, does not manage or otherwise control such Investment Fund, and has

no influence over the Investment Fund’s decision to buy, sell, or vote any particular security. Each

Investment Fund in which a Passive-Intermediary Entity invests is operated as a blind pool, so that

the Passive-Intermediary Entity does not know what securities the blind pool Investment Funds

will purchase or sell, and has no control over such purchases or sales.            And, indeed, the

Passive-Intermediary Entity often arranges for statements and communications from certain

Investment Funds to be sent solely to a blind administrator who edits out all information regarding

the identity of the Investment Fund’s underlying investments, so that the Passive-Intermediary

Entity does not learn (even after the fact) the identity of the securities purchased, sold, or held by

the Investment Fund. To the extent the Passive-Intermediary Entity is or becomes aware of the

identity of the securities purchased, sold, or held by the Investment Funds (“Known Holdings”),

such Known Holdings are submitted to Kirkland’s conflict checking system.

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       54.      From time to time, Kirkland partners, of counsel, associates, and employees

personally directly acquire a debt or equity security of a company which may be (or become) one

of the Debtors, their creditors, or other parties in interest in these chapter 11 cases. Kirkland has

a long-standing policy prohibiting attorneys and employees from using confidential information

that may come to their attention in the course of their work, so that all Kirkland attorneys and

employees are barred from trading in securities with respect to which they possess confidential

information.

F.     Former Clerks.

       55.     The following Kirkland employees had clerkships in the United States Bankruptcy

Court for the Southern District of New York during the last three years (collectively, the “Former

Clerks”).

       56.     Emily Kehoe, a Kirkland associate, was a law clerk for the Honorable Cecelia G.

Morris of the United States Bankruptcy Court for the Southern District of New York from August

2015 to August 2017. Ms. Kehoe began working at Kirkland in September 2017 and had no

connection with the Debtors’ chapter 11 cases while working for the court.

       57.     Simon Briefel, a Kirkland associate, was a law clerk for the Honorable Martin Glenn

of the United States Bankruptcy Court for the Southern District of New York from September

2017 to August 2018. Mr. Briefel began working at Kirkland in September 2018 and had no

connection with the Debtors’ chapter 11 cases while working for the court.

       58.     Alexander D. Talel, a Kirkland associate, was a law clerk for the Honorable Sidney

H. Stein of the United States District Court for the Southern District of New York from January

2017 until October 2017. Mr. Talel’s current role at Kirkland has no connection with the Debtors’

chapter 11 cases.

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       59.   Lauren Biksacky, a current Kirkland associate, was a law clerk for the Honorable

Edgardo Ramos of the United States District Court for the Southern District of New York from

November 2016 until November 2017. Ms. Biksacky’s current role at Kirkland has no connection

with the Debtors’ chapter 11 cases.

       60.   Brandon Chamberlin, a current Kirkland associate, was a law clerk for the Honorable

Louis L. Stanton of United States District Court for the Southern District of New York from

September 2014 until September 2016. Mr. Chamberlin’s current role at Kirkland has no

connection with the Debtors’ chapter 11 cases.

       61.   Chang Liu, a current Kirkland associate, was a law clerk for the Honorable John G.

Koeltl of United States District Court for the Southern District of New York from August 2015

until August 2016. Mr. Liu’s current role at Kirkland has no connection with the Debtors’ chapter

11 cases.

       62.   I do not believe that the Former Clerks’ work for the court precludes Kirkland from

meeting the disinterestedness standard under the Bankruptcy Code.

G.     Other Disclosures.

       63.     Susan D. Golden, a Kirkland partner, was employed by the Office of the United

States Trustee in the Southern District of New York from October 2007 to December 2017. I do

not believe that this connection precludes Kirkland from being a disinterested person under the

Bankruptcy Code.

       64.     Additionally, certain interrelationships exist among the Debtors. Nevertheless, the

Debtors have advised Kirkland that the Debtors’ relationships to each other do not pose any

conflict of interest because of the general unity of interest among the Debtors. Insofar as I have




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been able to ascertain, I know of no conflict of interest that would preclude Kirkland’s joint

representation of the Debtors in these chapter 11 cases.

       65.     Finally, prior to joining Kirkland, certain Kirkland attorneys represented clients

adverse to or connected to Kirkland’s current and former restructuring clients. Certain of these

attorneys (the “Screened Kirkland Attorneys”) will not perform work in connection with

Kirkland’s representation of the Debtors and will not have access to confidential information

related to the representation. Kirkland’s formal ethical screen provides sufficient safeguards and

procedures to prevent imputation of conflicts by isolating the Screened Kirkland Attorneys and

protecting confidential information.

       66.     Under Kirkland’s screening procedures, Kirkland’s conflicts department distributes

a memorandum to all Kirkland attorneys and legal assistants directing them as follows: (a) not to

discuss any aspects of Kirkland’s representation of the Debtors with the Screened Kirkland

Attorneys; (b) to conduct meetings, phone conferences, and other communications regarding

Kirkland’s representation of the Debtors in a manner that avoids contact with the Screened

Kirkland Attorneys; (c) to take all measures necessary or appropriate to prevent access by the

Screened Kirkland Attorneys to the files or other information related to Kirkland’s representation

of the Debtors; and (d) to avoid contact between the Screened Kirkland Attorneys and all Kirkland

personnel working on the representation of the Debtors unless there is a clear understanding that

there will be no discussion of any aspects of Kirkland’s representation of the Debtors.

Furthermore, Kirkland already has implemented procedures to block the Screened Kirkland

Attorneys from accessing files and documents related to the Debtors that are stored in Kirkland’s

electronic document managing system.




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                          Affirmative Statement of Disinterestedness

       67.     Based on the conflicts search conducted to date and described herein, to the best of

my knowledge and insofar as I have been able to ascertain, (a) Kirkland is a “disinterested person”

within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates

and (b) Kirkland has no connection to the Debtors, their creditors, or other parties in interest,

except as may be disclosed herein.



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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

 Dated: March 26, 2019                           Respectfully submitted,

                                                 /s/ Stephen E. Hessler
                                                Stephen E. Hessler
                                                as President of Stephen E. Hessler, P.C., as
                                                Partner of Kirkland & Ellis LLP; and as Partner
                                                of Kirkland & Ellis International LLP
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                                               Schedule 1

       The following lists contain the names of reviewed entities as described more fully in the
Declaration of Stephen E. Hessler in Support of the Debtors’ Application Authorizing the
Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as
Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date
(the “Hessler Declaration”).1 Where the names of the entities reviewed are incomplete or
ambiguous, the scope of the search was intentionally broad and inclusive, and Kirkland & Ellis
LLP and Kirkland & Ellis International LLP reviewed each entity in its records, as more fully
described in the Hessler Declaration, matching the incomplete or ambiguous name.




1   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Hessler
    Declaration.
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                                       SCHEDULE 1
                                       List of Schedules

 Schedule     Category
 1(a)         Current & Former Officers & Directors
 1(b)         Debtor Affiliates
 1(c)         Equity Holders
 1(d)         Bank Lenders and UCC Search Parties
 1(e)         Bankruptcy Judges, US Trustees, and Court Contacts for the Southern District of New York
 1(f)         Bankruptcy Professionals
 1(g)         Contract Counterparties
 1(h)         Creditors' Committee Members
 1(i)         Governmental Units and Regulators
 1(j)         Individual Bondholders and Indenture Trustees
 1(k)         Insurers
 1(l)         Litigation Counterparties
 1(m)         Professionals
 1(n)         Surety Issuers
 1(o)         Top 50 Creditors
 1(p)         Unions
 1(q)         Vendors




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                                    SCHEDULE 1(a)
                           Current & Former Officers & Directors

Armitage, Carol
Bayer, Ron
Beall, Samuel E., III
Brooks, Jack
Diefenderfer, Jeannie H.
Eichler, John
Farkouh, Stephen
Gunderman, Robert
Halpin, Kevin
Hinson, Jeffrey T.
Langston, Lewis
LaPerch, William G.
Laque, Larry
Levine, Layne
Moody, Kristi
Shimer, Julie A.
Small, Jeff
Smith, Drew
Stoll, Marc
Stoltz, Michael G.
Thomas, Anthony
Turek, Walter L.
Wells, Alan L.




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                                 SCHEDULE 1(b)
                                   Debtor Affiliates

Allworx Corp.                                  Cinergy Communications Co. of Virginia
American Telephone Co. LLC                        LLC
ARC Networks Inc.                              Conestoga Enterprises Inc.
ATX Communications Inc.                        Conestoga Management Services Inc.
ATX Licensing Inc.                             Conestoga Wireless Co.
ATX Telecommunications Services of             Connecticut Broadband LLC
   Virginia LLC                                Connecticut Telephone & Communication
Birmingham Data Link LLC                          Systems Inc.
BOB LLC                                        Conversent Communications Long Distance
Boston Retail Partners LLC                        LLC
BridgeCom Holdings Inc.                        Conversent Communications of Connecticut
BridgeCom International Inc.                      LLC
BridgeCom Solutions Group Inc.                 Conversent Communications of Maine LLC
Broadview Networks Inc.                        Conversent Communications of
Broadview Networks of Massachusetts Inc.          Massachusetts Inc.
Broadview Networks of Virginia Inc.            Conversent Communications of New
Broadview NP Acquisition Corp.                    Hampshire LLC
Buffalo Valley Management Services Inc.        Conversent Communications of New Jersey
Business Telecom LLC                              LLC
Business Telecom of Virginia Inc.              Conversent Communications of New Jersey
BV-BC Acquisition Corp.                           LLC Inc.
Cavalier IP TV LLC                             Conversent Communications of New York
Cavalier Services LLC                             LLC
Cavalier Telephone LLC                         Conversent Communications of
Cavalier Telephone Mid-Atlantic LLC               Pennsylvania LLC
CCL Historical Inc.                            Conversent Communications of Rhode
Choice One Communications of Connecticut          Island LLC
   Inc.                                        Conversent Communications of Vermont
Choice One Communications of Maine Inc.           LLC
Choice One Communications of                   Conversent Communications Resale LLC
   Massachusetts Inc.                          CoreComm Communications LLC
Choice One Communications of New York          CoreComm-ATX Inc.
   Inc.                                        CTC Communications Corp.
Choice One Communications of Ohio Inc.         CTC Communications of Virginia Inc.
Choice One Communications of                   D&E Communications LLC
   Pennsylvania Inc.                           D&E Management Services Inc.
Choice One Communications of Rhode             D&E Networks Inc.
   Island Inc.                                 D&E Wireless Inc.
Choice One Communications of Vermont           Deltacom LLC
   Inc.                                        Earthlink Business Holdings LLC
Choice One Communications Resale LLC           Earthlink Business LLC
Choice One of New Hampshire Inc.               Earthlink Carrier LLC
                                               Earthlink Holdings LLC


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Earthlink LLC                               Talk America LLC
Earthlink Services LLC                      Talk America of Virginia LLC
Earthlink Shared Services LLC               Teleview LLC
Equity Leasing Inc.                         Texas Windstream LLC
Eureka Broadband Corp.                      The Other Phone Co. LLC
Eureka Holdings LLC                         TriNet LLC
Eureka Networks LLC                         TruCom Corp.
Eureka Telecom Inc.                         US LEC Communications LLC
Eureka Telecom of VA Inc.                   US LEC of Alabama LLC
Georgia Windstream LLC                      US LEC of Florida LLC
Heart of the Lakes Cable Systems Inc.       US LEC of Georgia LLC
Infocore Inc.                               US LEC of Maryland LLC
InfoHighway Communications Corp.            US LEC of North Carolina LLC
Info-Highway International Inc.             US LEC of Pennsylvania LLC
InfoHighway of Virginia Inc.                US LEC of South Carolina LLC
Intellifiber Networks LLC                   US LEC of Tennessee LLC
Iowa Telecom Data Services LC               US LEC of Virginia LLC
Iowa Telecom Data Services LC Inc.          US Xchange Inc.
Iowa Telecom Technologies LLC               US Xchange of Illinois LLC
IWA Services LLC                            US Xchange of Indiana LLC
KDL Holdings LLC                            US Xchange of Michigan LLC
LDMI Telecommunications LLC                 US Xchange of Wisconsin LLC
Lightship Telecom LLC                       Valor Telecommunications of Texas LLC
MassComm LLC                                WaveTel NC License Corp.
McLeodUSA Information Services LLC          WIN Sales & Leasing Inc.
McLeodUSA Purchasing LLC                    Win Tower Exchange LLC
McLeodUSA Telecommunications Services       Windstream Accucomm Networks LLC
    LLC                                     Windstream Accucomm
MPX Inc.                                       Telecommunications LLC
Nashville Data Link LLC                     Windstream Alabama LLC
Network Telephone LLC                       Windstream Arkansas LLC
Norlight Telecommunications of Virginia     Windstream Buffalo Valley Inc.
    LLC                                     Windstream Business Holdings LLC
Oklahoma Windstream LLC                     Windstream BV Holdings Inc.
Open Support Systems LLC                    Windstream BV Holdings LLC
PaeTec Communications LLC                   Windstream Cavalier LLC
PaeTec Communications of Virginia LLC       Windstream Communications Kerrville LLC
PAETEC Holding LLC                          Windstream Communications LLC
PAETEC iTEL LLC                             Windstream Communications Telecom LLC
PAETEC LLC                                  Windstream Concord Telephone LLC
PAETEC Realty LLC                           Windstream Conestoga Inc.
PCS Licenses Inc.                           Windstream CTC Internet Services Inc.
Progress Place Realty Holding Co. LLC       Windstream D&E Inc.
RevChain Solutions LLC                      Windstream D&E Systems LLC
SM Holdings LLC                             Windstream Direct LLC
Southwest Enhanced Network Services LLC     Windstream Eagle Holdings LLC



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Windstream Eagle Services LLC               Windstream Ohio LLC
Windstream EN-TEL LLC                       Windstream Oklahoma LLC
Windstream Finance Corp                     Windstream Pennsylvania LLC
Windstream Florida LLC                      Windstream Services LLC
Windstream Georgia Communications LLC       Windstream SHAL LLC
Windstream Georgia LLC                      Windstream SHAL Networks Inc.
Windstream Georgia Telephone LLC            Windstream Shared Services LLC
Windstream Holding of the Midwest Inc.      Windstream South Carolina LLC
Windstream Holdings Inc.                    Windstream Southwest Long Distance LLC
Windstream Holdings of the Midwest Inc.     Windstream Standard LLC
Windstream Iowa Communications LLC          Windstream Sugar Land LLC
Windstream Iowa-Comm LLC                    Windstream Supply LLC
Windstream IT-Comm LLC                      Windstream Supply LLC Inc.
Windstream KDL LLC                          Windstream Systems of the Midwest Inc.
Windstream KDL-VA LLC                       Windstream Western Reserve LLC
Windstream Kentucky East LLC                Xeta Technologies Inc.
Windstream Kentucky West LLC
Windstream Kerrville Long Distance LLC
Windstream Lakedale Inc.
Windstream Lakedale Link Inc.
Windstream Leasing LLC
Windstream Lexcom Communications LLC
Windstream Lexcom Entertainment LLC
Windstream Lexcom Long Distance LLC
Windstream Lexcom Wireless LLC
Windstream Lexcom Wireless LLC Inc.
Windstream Mississippi LLC
Windstream Missouri LLC
Windstream Montezuma LLC
Windstream Nebraska Inc.
Windstream Network Services of the
   Midwest Inc.
Windstream New York Inc.
Windstream Norlight LLC
Windstream North Carolina LLC
Windstream NorthStar LLC
Windstream NTI LLC
Windstream NuVox Arkansas LLC
Windstream NuVox Illinois LLC
Windstream NuVox Indiana LLC
Windstream NuVox Kansas LLC
Windstream NuVox LLC
Windstream NuVox Missouri LLC
Windstream NuVox Ohio LLC
Windstream NuVox Oklahoma LLC
Windstream of the Midwest Inc.



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                                   SCHEDULE 1(c)
                                     Equity Holders

Acadian Asset Management LLC                   Geode Capital Management LLC
Advisors Asset Management Inc.                 Goldman Sachs & Co. Inc.
AllianceBernstein LP                           Group One Trading LP
Alpine Global Management LLC                   HBK Investments LP
American Century Investment Management         Invesco Capital Management LLC
    Inc.                                       Isthmus Partners LLC
Analytic Investors LLC                         Jefferies LLC
AQR Capital Management LLC                     JP Morgan Asset Management Inc.
Arrowstreet Capital LP                         JP Morgan Securities LLC
Bank of America Merrill Lynch (US)             JPMorgan Asset Management (Japan) Ltd.
Barclays Capital Inc.                          JPMorgan Private Bank (United States)
Bardin Hill Investment Partners LP             KBC Group NV
BlackRock Advisors (UK) Ltd.                   Manulife Asset Management Ltd.
BlackRock Financial Management Inc.            Marshall Wace LLP
BlackRock Institutional Trust Co. NA           Mellon Investments Corp.
BlackRock Investment Management LLC            Millennium Management LLC
BlueMountain Capital Management LLC            Morgan Stanley Wealth Management SV
BNY Mellon Asset Management                        SA
Bridgeway Capital Management Inc.              New York State Common Retirement Fund
Brigade Capital Management LP                  NNIP Advisors BV
California Public Employees' Retirement        Norges Bank Investment Management
    System                                         (NBIM)
California State Teachers' Retirement          Northern Trust Global Investments
    System                                     Northern Trust Investments Inc.
Cavalier Investments LLC                       Nuveen LLC
Charles Schwab Investment Management           PanAgora Asset Management Inc.
    Inc.                                       Parametric Portfolio Associates LLC
Citadel Enterprise Americas LLC                PDT Partners LLC
Citi Investment Research (US)                  PIMCO (US)
Commonwealth Bank of Australia                 PointState Capital LP
Commonwealth Financial Network                 Public Employees'Retirement Association of
CQS Cayman LP                                      Colorado
Credit Suisse Securities (USA) LLC             Quantamental Technologies LLC
CTC myCFO LLC                                  Raymond James & Associates Inc.
DE Shaw & Co. LP                               Raymond James Financial Services
Deutsche Asset Management (UK) Ltd.                Advisors Inc.
Deutsche Asset Management Americas             RBC Capital Markets Wealth Management
Elliott Management Corp.                       Regions Investment Management Inc.
First Republic Investment Management Inc.      Renaissance Technologies LLC
Florida State Board of Administration          Rhumbline Advisers Ltd. Partnership
Friess Associates LLC                          SG Americas Securities LLC
Gabelli Funds LLC                              Simplex Trading LLC



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Spark Investment Management LLC
Spot Trading LLC
State Street Global Advisors (US)
Stone Ridge Asset Management LLC
SunAmerica Asset Management LLC
Susquehanna International Group LLP
T. Rowe Price Associates Inc.
Teton Advisors Inc.
TFS Capital LLC
Tower Research Capital LLC
Two Sigma Investments LP
USAA Investment Management Co.
Vanguard Group Inc., The
Victory Capital Management Inc.
Virtu Americas LLC
Voya Investment Management LLC
Wells Capital Management Inc.
Wells Fargo Advisors
Wells Fargo Bank NA
Wells Fargo Securities LLC
Wolverine Trading LLC
World Asset Management Inc.
Zacks Investment Management Inc.




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                                 SCHEDULE 1(d)
                         Bank Lenders and UCC Search Parties

ABRY Partners LLC                            Fidelity Management & Research Co.
Aegon USA                                    Fifth Third Bank
Allstate Insurance                           First Bank
Amundi Pioneer                               First Central National Bank of St. Paris
Anchorage Capital Group                      First Federal Savings Bank
Antara Capital LP                            First Pacific Advisors LLC
Apex Credit Partners LLC                     First Trust Advisors LP
Apollo Capital Management LP                 Forcht Bank NA
Arbour Lane Capital Management LLC           Fortress Investment Group
Arena Capital Advisors LLC                   Fraser Sullivan Investment Management
Assurant Inc.                                    LLC
Bain Capital Credit                          Garrison Investment Group LP
Bank of America Corp.                        GoldenTree Asset Management
Bardin Hill Investment Partners              Harch Capital Management LLC
Barrow Hanley Mewhinney & Strauss LLC        Hayfin Capital Management LLP
Beach Point Capital Management LP            HBK Investments LP
Beal Bank                                    Highland Capital Management LP
Black Diamond Capital Partners               Hillmark Capital Management LP
Brigade Capital Management LP                HSBC Bank plc
Canaras Capital Management LLC               Industrial Alliance Insurance & Financial
Carlson Capital LP                               Services Inc.
CarVal Investors LLC                         Invesco Capital Management LLC
Caspian Capital LP                           JPMorgan Chase Bank NA
Cedarview Capital Management LP              KeyBank
Citibank                                     Lord Abbett & Co.
Citibank NA                                  M&T Bank
CKC Capital LLC                              Marshall, Adrian
Cohanzick Management LLC                     Montezuma State Bank
Columbia Threadneedle                        MSD Capital LP
Commerce Bank                                Napier Park Global Capital LP
Commercial Industrial Finance Corp.          Neuberger Berman Group LLC
Credit Suisse Asset Management LLC           Nokota Management LP
Credit Value Partners LP                     Nomura Holding America Inc.
CVC Capital Partners Ltd.                    Onex Credit Partners LLC
Delaware Investments                         Partners Group AG
Diameter Capital Partners LP                 PointState Capital LP
Elmwood Wealth Management Inc.               PPM America Inc.
Exchange Bank                                PrivateBank, The
Farmers Bank, The                            Prudential Asset Management Co. Inc.



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RBC Global Asset Management (US) Inc.
Redding Ridge Asset Management LLC
Regions Financial Corp.
Royal Bank of Canada
Security State Bank & Trust
Silvermine Capital Management LLC
Solus Alternative Asset Management LP
Steele Creek Investment Management
Suntrust Bank
Symphony Asset Management LLC
Thrivent Financial for Lutherans
Tricadia Capital Management LLC
UMB Bank NA
United Community Bank Inc.
US Bank NA
Valcour Capital Management LLC
Vulcan Credit
Wells Fargo & Co.
Wells Fargo Bank NA
WhiteHorse Capital Partners
WhiteStar Corp.




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                                  SCHEDULE 1(e)
   Bankruptcy Judges, US Trustees, and Court Contacts for the Southern District of New
                                         York

Abriano, Victor
Arbeit, Susan
Bernstein, Stuart M.
Cassara, Amanda
Catapano, Maria
Chapman, Shelley C.
Choy, Danny A.
Daniele, Salvatore
DiSalvo, Rosemary
Drain, Robert D.
Garrity, James L., Jr.
Glenn, Martin
Grossman, Robert E.
Harrington, William K.
Higgins, Benjamin J.
Lane, Sean H.
Masumoto, Brian S.
Mendoza, Ercilia A.
Moroney, Mary V.
Morris, Cecelia G.
Morrissey, Richard C.
Nadkarni, Joseph
Nakano, Serene
Ng, Cheuk M.
Riffkin, Linda
Rodriguez, Ilusion
Schwartz, Andrea B.
Schwartzberg, Paul K.
Scott, Shannon
Sharp, Sylvester
Song, Justin
Velez-Rivera, Andy
Vyskocil, Mary Kay
Wiles, Michael E.
Zipes, Greg M.




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                                  SCHEDULE 1(f)
                               Bankruptcy Professionals

Alvarez & Marsal LLC
Joele Frank Wilkinson Brimmer Katcher
Katten Muchin Rosenman LLP
KCC LLC
PJT Partners Inc.




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                                  SCHEDULE 1(g)
                                Contract Counterparties

Communications Sales & Leasing Inc.
CSL National LP
Uniti Group Inc.




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                                SCHEDULE 1(h)
                           Creditors' Committee Members

AT&T Services Inc.
Communications Workers of America
Crown Castle Fiber LLC
LEC Services Inc.
Pension Benefit Guaranty Corp.
UMB Bank NA
VeloCloud Networks Inc.




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                                   SCHEDULE 1(i)
                          Governmental Units and Regulators

United States, Government of the, Federal Communications Commission




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                                 SCHEDULE 1(j)
                    Individual Bondholders and Indenture Trustees

Aurelius Capital Management LP
US Bank NA
Wilmington Trust NA




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                                 SCHEDULE 1(k)
                                      Insurers

ACE American Insurance Co.
AIG Global Real Estate
Allied World Assurance Co. Holdings GmbH
Allied World Assurance Co. Ltd.
Aspen Insurance Holdings Ltd.
AXA XL Insurance
AXIS Insurance Co.
Barbican Group Holdings Ltd.
Beazley Group Ltd.
Brit Insurance Holdings BV
Channel Syndicate LLP, The
Chubb Corp., The
CNA Insurance Cos.
Endurance Insurance
Great American Insurance Group
HCC Insurance Holdings Inc.
Jardine Lloyd Thompson Group plc
Lockton Cos. Inc.
Markel Corp.
Nautilus Insurance Co.
RLI Corp.
Sompo Japan Nipponkoa Insurance Inc.
Starr International Co. Inc.
Travelers Indemnity Co., The
Travelers Insurance Co. Ltd.




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                                     SCHEDULE 1(l)
                                  Litigation Counterparties

14th & Fletcher Street Lincoln NE                Iowa, State of, Department of Commerce,
1‐800 Phone Numbers LLC                              Utilities Board
Abercrombie, Margaret                            irth Solutions LLC
Allegheny, County of (PA)                        Kendall, Bobby
Almont Ambulatory Surgery Center LLC             Kingdom Group
Angelo, Denise                                   Lackawanna City School District (NY)
Ashmore, Beattie B.                              Lancaster, County of (PA)
Ávila, Javier                                    Lebanon, County of (PA)
Beaver, County of (PA)                           Leonard, Linda
Berks, County of (PA)                            Loar, Ronald
Blount, County of (TN), Emergency                Mamros, John
    Communications District                      Mamros, Lorraine
Bull Communications Inc.                         Manchester-Shortsville Central School
Bunce, Kyle                                          District (NY)
Bunce, Melissa                                   Martin, Kelly
Bussey, Carlton                                  Max Auto
Butler, County of (PA)                           Mercer, County of (PA)
Charbonnet Law Firm LLC                          Michigan, State of, Department of Licensing
Chester, County of (PA)                              & Regulatory Affairs, Public Service
Cincinnati Insurance Co., The                        Commission
Clarion, County of (PA)                          Mount Vernon Community School District
Clayton, County of (GA)                              (IA)
Cobb, County of (GA)                             Murray, Robert
Cohen, Lawrence                                  New Jersey, State of, Division of Taxation,
Columbus, City of (GA), Consolidated                 Prearranged Ride Surcharge
    Government                                   New York City, City of (NY)
CommonWealth One Federal Credit Union            New York, State of, Attorney General
Crain, Adam                                      North Buffalo, Township of (PA)
Cumberland, County of (PA)                       North Carolina, State of, Department of
Dauphin, County of (PA)                              Justice
Delaware, County of (PA)                         OCM Boces
Erie One BOCES                                   Osborne, Ester Louise
Florida, State of, Phone Recovery Services       Payne's Tool & Supply Inc.
Genesee Valley Educational Partnership           Pennsylvania, Commonwealth of, Office of
Graham, Cindy                                        Attorney General, Bureau of Consumer
Graham, Larry                                        Protection
Greene, David S.                                 Pennsylvania, Commonwealth of, Public
Gwinnett, County of (GA)                             Utility Commission
Hamilton, County of (TN), Emergency              Pennsylvania, Commonwealth of, Public
    Communications District                          Utility Commission, Office of Consumer
iNet Solutions Group LLC                             Advocate




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Pocahontas, County of (IA), Joint E911
    Service Board
Pope, Jerry
Randolph Central School District (NY)
RE/MAX LLC
Reeder, Carl
Rhode Island, State of, Phone Recovery
    Services
Richard, Shipley,
Rodgers, Jim
Rofaeilnakhal, Melad L.
Rover Pipeline LLC
SAETEC Inc.
Shelton, Ricky
Sherrie, Shipley
Simon's Agency Inc.
Sisvel International SA
Skiffington, Tom
Tindle, Bobbie
Tutty
University of Texas Health Science Center,
    University Staff Advisory Council
Utiliquest LLC
Velazquez, Shayla
Warner Music Group Inc.
Washington Street Holdings
Washington, County of (PA)
Webster, Jody
Westmoreland, County of (PA)
Williams, Tyler Kieron
Yadegarian
York, County of (PA)




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                                  SCHEDULE 1(m)
                                      Professionals

AlixPartners
Davis Polk & Wardwell LLP
Evercore Group
Houlihan Lokey Inc.
Milbank LLP
Morrison & Foerster LLP
Paul Weiss Rifkind Wharton & Garrison LLP
Perella Weinberg Partners LP
Robbins Russell Englert Orseck Untereiner & Sauber LLP
Rothschild & Co.
Shearman & Sterling LLP




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                                SCHEDULE 1(n)
                                   Surety Issuers

Argonaut Insurance Co.
Aspen Insurance Co.
Berkley Insurance Co.
RFI Insurance Co.




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                                  SCHEDULE 1(o)
                                   Top 50 Creditors

Accedian Networks Inc.                        Mitel Technologies Inc.
Actiontec Electronics                         MP Nexlevel LLC
Actiontec Electronics Inc.                    Output Services Group Inc.
ADTRAN Inc.                                   Prodapt Solutions
AT&T Corp.                                    Prodapt Solutions Pte. Ltd.
AT&T Inc.                                     Qwest Corp.
AT&T Pro Cabs                                 T3 Wireless Inc.
BellSouth LLC                                 Tata Consultancy Services Ltd.
BellSouth Pro Cabs                            Time Warner Cable
CBRE Group Inc.                               Time Warner Cable LLC
CBRE Inc.                                     Trawick Construction Co.
Centurylink Communications LLC                Trawick Construction Co. Inc.
CenturyLink Inc.                              Triple D Communications
Charter Communications Inc.                   Triple-D Communications LLC
Ciena Corp.                                   TW Telecom Inc.
Comcast Corp.                                 US Bank NA
Commscope Technologies LLC                    USIC Inc.
Comsys Information Technology Services        USIC LLC
    Inc.                                      Velocloud Networks Inc.
Conduent Commercial Solutions LLC             Verizon
Cox Communications Inc.                       Verizon Communications Inc.
Duke Energy Corp.                             Zayo Group Holdings Inc.
Element Financial Corp.
Ensono LP
Equinix Inc.
Exclusive Networks USA
Fast Track Construction Corp.
Fast Track Construction LLC
Fibertech Networks LLC
Forsythe Solutions Group Inc.
Frontier Communications Corp.
General Datatech LP
Globe Communications Inc.
Housley Communications Inc.
Infinera Corp.
LEC Services Inc.
Level 3 Communications Inc.
Level 3 Communications LLC
Lightower Fiber Networks
Metaswitch Networks
Metaswitch Networks Ltd.
Microsoft Corp.



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                                    SCHEDULE 1(p)
                                           Unions

Communications Workers of America
International Brotherhood of Electrical Workers




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                                SCHEDULE 1(q)
                                        Vendors

10005 Monroe Road LLC                         Avalara Inc.
14 So Williamsport Holdings LLC               Avaya Inc.
1450 Center Point Office LLC                  Axia NGNetworks USA Inc.
151 MLK Blvd. LLC                             Bandwidth Inc.
1814 W Tacoma St LLC                          Bank of America Corp.
3M Telecom Products Division                  BDC Group, The
401 North Broad Lessee LLC                    Bellsouth LLC
A Meredith Schneider Co. LLC                  Bellsouth Pro Cabs
Accedian Networks Inc.                        Blackall Mechanical Inc.
Acquire BPO Inc.                              Bloomtek LLP
Actiontec Electronics Inc.                    Blue Sky Telecommunication Ltd.
ADTRAN Inc.                                   BlueStream Professional Services LLC
Advanced Data & Telecom Solutions LLC         Bond Schoeneck & King PLLC
Advanced Media Technologies Inc.              Brightlink Communications LLC
AFL Telecommunications LLC                    Broadsoft Inc.
Air Force One Inc.                            Btc Block 20 Partnership LP
Akinnovate                                    Burwood Group Inc.
Alaska Communications                         Byers Engineering Co.
Alcatel-Lucent SA                             CA Inc.
Alex Park South LLC                           Cablemasters Construction Inc.
All Access Telecom Inc.                       Cablevision Lightpath Inc.
Alliance Communications Cables Inc.           Calix Inc.
Alliant Energy Corp.                          Capgemini US LLC
Allied Universal                              CareerBuilder LLC
Alpha Technologies Ltd.                       Carrier Services Group Inc.
Alpheus Communications LP                     CBRE Inc.
Altec Capital Services LLC                    CCI Systems Inc.
Amazon Web Services Inc.                      CenturyLink Communications LLC
Ameren Corp.                                  Centurytel Service Group LLC
American Electric Power Co. Inc.              Cequel Communications LLC
Amicalola EMC                                 Cetrulo LLP
Apex Advertising Inc.                         Challenger Gray & Christmas Inc.
AppDirect Canada Inc.                         Charles Industries Ltd.
AppliedLogix LLC                              Charter Communications Inc.
Aptitude Software Inc.                        Charter Fiberlink LLC
Associated Tele Networking Inc.               China Telecom (Americas) Corp.
AT&T                                          CHR Solutions Inc.
AT&T Pro Cabs                                 CIENA Communications Inc.
Atlantic Broadband Finance LLC                Cincinnati Bell Inc.
Atlassian Pty Ltd.                            Cisco Systems Capital Corp.
Audiocodes Ltd.                               Clearfield Inc.
Aureon                                        Colo Properties Atlanta LLC
Automatic Protection Systems Corp.


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Columbia North Carolina Morrocroft Office    Elite HVAC Services LLC
   Properties LLC                            Elite Technologies & Communications Inc.
Column Technologies Inc.                     Elk Property Management Ltd.
Comcast Phone LLC                            Empirix Inc.
Commercial & Residential Services            En Pointe Technologies Sales Inc.
CommScope Technologies LLC                   EnerSys
Communication Data Link LLC                  Ensono LP
Communication Services Inc.                  Entergy Corp.
Comsearch Inc.                               Enterprise Fleet Management Inc.
Comsys Information Technology Services       enVista LLC
   Inc.                                      Epes Logistics Services Inc.
Concentrix Corp.                             Equifax Information Services
Conduent Commercial Solutions LLC            Equinix Inc.
Consolidated Communications Holdings         Equinox Information Systems
   Inc.                                      Ernst & Young LLP
Consolidated Fire Protection                 Exclusive Networks USA
Construction Specialists Ltd.                Extensity
Cornerstone Communications Inc.              Fairpoint Communications Inc.
Corning Cable Systems LLC                    Fast Track Construction LLC
Cox Communications Inc.                      Fedex Corp.
Cox Media Group Inc.                         Fiberlight LLC
Creation Technologies LP                     Fibertech Networks LLC
Credit Solutions LLC                         Fidelity Information Services LLC
CreditGUARD of America                       Firstlight Consulting Group Corp.
Crestmark Equipment Finance Inc.             Flex Data Center LLC
Crown Castle USA Inc.                        Fluke Networks Inc.
Custom Underground Inc.                      Forrester Research Inc.
Cygnus Systems Inc.                          Forsythe Solutions Group Inc.
Cyient Inc.                                  Fox Sports North
DAR Enterprises LLC                          FPL
Datalink Corp.                               FPL Fibernet Holdings LLC
Datatrend Technologies Inc.                  Frontier Communications Corp.
Dell Computer Corp.                          Frontier Telephone of Rochester Inc.
Dell EMC                                     Fujitsu Network Communications Inc.
Dickson Flake Partners Inc.                  Fusion Risk Management Inc.
Digital Greenspoint LP                       Future Telecom
DISH Network Corp.                           G&L Utility Contractors Inc.
Dispatch Inc.                                Gainesville Regional Utilities
DMH Technologies Inc.                        Galleria Partners 1 LLC
DQE Communications LLC                       GE Power Electronics Inc.
Draftpros Inc.                               Gen5 Corp.
Duff & Phelps LLC                            General Cable Corp.
Duke Energy Corp.                            General Datatech LP
E&M Communications Inc.                      General Dynamics Information Technology
East Central Oklahoma Electric Coop Inc.         Inc.
Eleven Software Inc.                         Georgia 811



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Georgia Public Web Inc.                       Iron Mountain Information Management
Gibson Technical Services Inc.                    LLC
GLM DFW Inc.                                  ITC Service Group Inc.
Global Capacity                               Jackson Electric Membership Corp.
Global Crossing Telecommunications Inc.       JDH Contracting Inc.
Global Telecom & Technology Americas          Johnson Controls International PLC
    Inc.                                      Juniper Networks (US) Inc.
GlobalLogic Inc.                              K&W Underground Inc.
Globe Communications Inc.                     KCH Trucking LLC
Granite Telecommunications LLC                KCI Telecommunications LLC
Gray Television Group Inc.                    Kentucky Utilities Co.
Graybar Electric Co. Inc.                     KGPCo
Greenberg Traurig LLP                         Kirshenbaum Bond Senecal & Partners LLC
Greenville Office Supply Co.                  Klaasmeyer Construction Co. Inc.
Greenville, City of (SC)                      Knoah Solutions Inc.
Greenville, City of (TX)                      Kosse Partners I LLC
GTT Communications Inc.                       KPMG LLP
Guaranteed Systems Inc.                       KPP III CCT LLC
H5 Capital-Atlanta LLC                        LEC Services LLC
Habersham Electric Membership Corp.           Level 3 Communications LLC
Hancock Reit Proscenium LLC                   Lexington-Fayette, County of (KY), Urban
Henderson Services LLC                            Government
Henkels & McCoy Inc.                          Lightower
Hinduja Global Solutions Inc.                 Lightower Fiber Networks II LLC
Hood Business Park LLC                        Lincoln Electric System
Hostopia.com Inc.                             Lincoln, City of (NE) Treasurer
Housley Communications Ltd.                   LinkedIn Corp.
Hubbell Premise Wiring Inc.                   LivePerson Inc.
Hugh O'Kane Electric Co. Inc.                 LiveRamp Holdings Inc.
IBM Corp.                                     Lockton Cos. LLC
Impact Telecom Inc.                           Low Co.
INCOMPAS                                      Luffman-Byers Telecom Inc.
Infinera Corp.                                Lumos Fibernet Inc.
Infor Global Solutions Inc.                   MacLean Senior Industries LLC
Ingram Micro Inc.                             Maloney, Gregory
Innovative Information Technologies Inc.      Markley Boston LLC
Insight Direct USA Inc.                       MaveriConsulting LLC
Integrity Locating Services LLC               McAfee Inc.
Inteleservices Inc.                           MCC Telephony LLC
Inteliquent Inc.                              MCI Inc.
Interactive Communications International      MCI Worldcom
    Inc.                                      Mediacom Communications Corp.
Inter-Commercial Business Systems Inc.        Medlogix LLC
Inteserra Consulting Group Inc.               Metaswitch Networks Ltd.
Intradiem Inc.                                Michels Corp.
                                              Microsoft Licensing GP



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Mimecast North America Inc.                  Peerless Network Inc.
Mission Technology Group LLC                 Pente Consulting Group LLC
Missouri Network Alliance LLC                PHH Arval
Mitel Networks Corp.                         Phoenix Communications Inc.
Mitsubishi UFJ Lease & Finance (USA) Inc.    Pics Telecom Corp.
MNM Group Inc.                               Piedmont 5 Wall Street Burlington LLC
MP Nexlevel LLC                              Pinnacle Property Holdings LLC
Mpower Communications Corp.                  Pivotal Global Capacity LLC
Multi-Management Services Inc.               Positron Access Solutions Inc.
Mydevices Inc.                               Power & Telephone Supply Co. Inc.
Nasdaq Corporate Solutions LLC               PowerPlan Inc.
National Strand Products Inc.                Precision Utilities Group Inc.
Nave Communications Co.                      Pricewaterhouse Coopers LLP
Nespon Inc.                                  ProCom Consulting LLC
Netgen Inc.                                  Prodapt North America Inc.
Network Supply Services Inc.                 Prospect Communications Inc.
Networkfleet Inc.                            QTS Services Suwanee II LLC
Neustar Inc.                                 Quad Investments 3000 LLC
New Venture Telecommunication Services       Quarry Integrated Communications Inc.
   Inc.                                      Quickbase Inc.
New York, State of, Development Authority    Qwest Communications International Inc.
   of the North County                       Radiant Communications Corp.
Nichols Construction LLC                     Rainbow Technology Corp.
Niels Fugal Sons Co. LLC                     Ramtech Software Solutions Inc.
Nieman Printing Inc.                         RaRa Telecom Supply Inc.
Nitel Inc.                                   Razorsight Corp.
North Coast Conduit LLC                      Receivable Management Services LLC
Norton Rose Fulbright                        Receivables Performance Management LLC
Novacoast Inc.                               Regulus Group LLC
NuArx Inc.                                   Resolve Systems LLC
OFS Fitel LLC                                RESPEC
Olameter DPG LLC                             Rincon Technology
Omaha Public Power District                  Road America Motor Club Inc.
Onesource Building Technologies, Inc.        Rogers Promotional Marketing
Optelian Access Networks Corp.               RoundTower Technologies LLC
Optical Communications Group                 Rowe Line Construction Inc.
Optiv Security Inc.                          RTS Inc.
Oracle America Inc.                          RXR SL Owner LLC
ORR Protection Systems Inc.                  S&S Communications Inc.
OSI Hardware Inc.                            SaaSafras LLC
Output Services Group Inc.                   Sailpoint Technologies Inc.
Overture Networks Inc.                       Salesforce.com Inc.
PalmettoNet Inc.                             Scansource Catalyst Inc.
Panther Real Estate LLC                      ScanSource Inc.
PC Mall Sales Inc.                           ScanSource Security Distribution Inc.
Pearce Services LLC                          Schellman & Co. LLC



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Seneca Building Partners LLC                 TGT Maitland II LLC
Sequential Technology International LLC      TH Construction Inc.
Set Solutions Inc.                           Thomas & Betts Corp.
SHI International Corp.                      Thomson Reuters Tax & Accounting Inc.
Sho-Me Technologies LLC                      TIBCO Software Inc.
Sidera Networks Inc.                         TierPoint LLC
Sigma Systems Canada LP                      Tierpoint Midwest LLC
SITEL Corp.                                  TII Network Technologies Inc.
SkyCreek Corporation                         Tim Simmons Electric Inc.
Somos Inc.                                   Time Warner Cable LLC
Southern California Edison Co.               Time Warner Telecom Inc.
Southern Company Services Inc.               TMI Solutions
Southern Light LLC                           TNS Inc.
Spectrotel Inc.                              Tollgrade Communications Inc.
SportSouth Network LLC                       Touchwood Technologies Inc.
Sprinklr Inc.                                Tower On Main LLC
Sprint Corp.                                 TPUSA, Inc.
Star Construction LLC                        TPUSA-FHCS Inc.
STCC Assistance Corp.                        Transaction Network Services Inc.
Suntrust Equipment Finance & Leasing         Transtelco Inc.
    Corp.                                    Trawick Construction Co. Inc.
Superior Essex Inc.                          Tri Tower Telecom Corp.
Swampfox Technologies Inc.                   Triple-D Communications LLC
SWVP Orlando Office LLC                      True Office Learning Inc.
Synacor Inc.                                 Tularosa Basin Telephone Co.
SYNNEX Corporation                           Tulsat Corp.
Synoptek LLC                                 Turnkey Network Solutions Inc.
T&M Investors VI LLC                         TVC Albany Inc.
T3 Wireless Inc.                             TW Telecom Inc.
Talk America Services LLC                    TWC Fifty-eight Ltd.
Tata Consultancy Services Ltd.               Twin City Printing & Litho Inc.
TDS Metrocom LLC                             Tyco Integrated Security LLC
Team SI                                      United States Postal Service
Tech Americas USA Inc.                       US Signal Co. LLC
Tech Mahindra Ltd.                           USIC Locating Services LLC
TEGNA Inc.                                   Utah Telecommunication Open
Telcom Construction Inc.                         Infrastructure Agency
Telecordia Technologies Inc.                 Utili-Link Inc.
TeleDynamics Communications Service          UtiliQuest LLC
    Corp.                                    V2 Technology LLC
Telepacific Communications                   Velocity Technology Solutions III Inc.
TelStrat LLC                                 Velocloud Networks Inc.
Telx Chicago Lakeside LLC                    Verizon
Templar Inc.                                 Vertex Inc.
Tesinc LLC                                   VIAVI Solutions Inc.
Texas Excavation Safety System Inc.          Vitria Technology Inc.



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Voice Plus Ltd.
VTech Communications Ltd.
West Ninth Street Associates LP
West Safety Services Inc.
Westell Technologies Inc.
Western Union Financial Services Inc.
Westworld Telecom Corp.
Wilcon Depot Inc.
William Ziering Trust
Willis Towers Watson
Windstream Georgia LLC
Winncom Technologies Corp.
Wireless Services Center LLC
Worldwide Supply LLC
WOW! Internet Cable & Phone
Xerox Corp.
XO Communications LLC
Xtech Gear Inc.
Zayo Group LLC
Zoom Video Communications Inc.




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                                   SCHEDULE 2

                                   Name of Entity and/or Affiliate of
       Name of Entity Searched                                            Status
                                     Entity, that is a K&E Client
 3M Telecom Products Division      3M Company                             Current
 ABRY Partners LLC                 ABRY Advanced Securities Fund          Current
                                   ABRY Advanced Securities Fund II       Current
                                   ABRY Advanced Securities Fund
                                     III                                  Current
                                   ABRY Heritage Partners                 Current
                                   ABRY Heritage Partners Co-
                                     Investment Fund                      Current
                                   ABRY Investment Partnership, L.P.      Closed
                                   ABRY Investment Partnerships           Current
                                   ABRY Mezzanine Partners                Current
                                   ABRY Partners II, LLC                  Current
                                   ABRY Partners IV                       Current
                                   ABRY Partners V                        Current
                                   ABRY Partners VI                       Current
                                   ABRY Partners VII                      Current
                                   ABRY Partners VII Co-Investment
                                     Fund                                 Current
                                   ABRY Partners VIII                     Current
                                   ABRY Partners VIII Co-Investment
                                     Fund                                 Current
                                   ABRY Senior Equity Co-Investment
                                     Fund                                 Current
                                   ABRY Senior Equity Co-Investment
                                     Fund III, L.P.                       Closed
                                   ABRY Senior Equity II                  Current
                                   ABRY Senior Equity II-A                Current
                                   ABRY Senior Equity III                 Current
                                   ABRY Senior Equity III Co-
                                     Investment Fund                      Current
                                   ABRY Senior Equity III, L.P.           Closed
                                   ABRY Senior Equity IV                  Current
                                   ABRY Senior Equity IV Co-
                                     Investment Fund                      Current
                                   ABRY Senior Equity V                   Current



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       Name of Entity Searched                                             Status
                                      Entity, that is a K&E Client
                                    ABRY Senior Equity V Co-
                                       Investment Fund                     Current
                                    ABRY V Affiliated Partners             Current
                                    Royce Yudkoff                          Current
 Acadian Asset Management LLC       Campbell Global, LLC                   Current
 Barrow Hanley Mewhinney &
    Strauss LLC
 Accedian Networks Inc.             Sander M. Levy                         Current
 AIG Global Real Estate             Varagon Capital Partners               Closed
 SunAmerica Asset Management
    LLC
 Alix Partners                      Galvaude Private Investments Inc.      Closed
                                    Ivory Private Investments Inc.         Closed
                                    PSP Investments Canada Inc.            Closed
                                    PSP Investments Credit USA LLC         Closed
                                    PSP Investments Holding USA LLC        Closed
                                    PSP Investments USA LLC                Closed
                                    Public Sector Pension Investment
                                       Board                               Current
 Alix Partners                      Investcorp                             Closed
                                    Jeff Ubben                             Current
 Alix Partners                      Caisse de dépôt et placement du
                                        Québec                             Current
 AllianceBernstein LP               AB Commercial RE Debt Series 1-
                                      A                                    Current
 AXA XL Insurance                   AB Commercial RE Debt Series 1-
                                      B                                    Current
                                    AB Commercial RE Debt Series 1-
                                      C                                    Current
                                    AB Institutional Series                Current
                                    AB Institutional Series B              Current
                                    AB Institutional Series C              Current
                                    AXA REIM SGP                           Current
 Allied Universal                   Warburg Pincus                         Closed
                                    Warburg Pincus Asia LLC                Current
                                    Warburg Pincus, LLC                    Current
                                    WP Financial L.P.                      Current
                                    WP Re Cayman Limited                   Current

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       Name of Entity Searched                                              Status
                                        Entity, that is a K&E Client
 Allstate Insurance                  Allstate Insurance Company             Current
                                     Allstate Insurance Holdings LLC        Closed
                                     Allstate Investments                   Closed
                                     Esurance Insurance Services, Inc.      Closed
                                     The Allstate Corporation               Closed
 Altec Capital Services LLC          Altec, Inc.                            Closed
 Alvarez & Marsal LLC                A&M Capital Advisors Europe,
                                         LLP                                Current
                                     A&M Capital Advisors GP, LLC           Current
                                     A&M Capital Advisors, LLC              Current
                                     A&M Capital Advisors, LP               Current
                                     A&M Capital Europe Partners, LP        Current
                                     A&M Capital Europe-GP
                                         Associates, LP                     Current
                                     A&M Capital Opportunities-GP
                                         Associates, LP                     Current
                                     A&M Capital Partners, LLC              Current
                                     A&M Capital-GP Associates, LP          Current
                                     A&M Capital-GP Holdings, LP            Current
                                     Alvarez & Marsal AMCO Partners
                                         Fund, LP                           Current
                                     Alvarez & Marsal Capital LLC           Current
                                     Alvarez & Marsal Capital, LP           Current
                                     Alvarez & Marsal Fund II, L.P.         Current
                                     Alvarez & Marsal Inc.                  Current
                                     Alvarez & Marsal Partners Buyout
                                         Fund, LP                           Current
                                     Alvarez & Marsal Partners Europe
                                         Buyout Fund, LP                    Current
                                     Alvarez & Marsal Partners Europe
                                         Fund, LP                           Current
                                     Alvarez & Marsal Partners Fund, LP     Current
                                     Alvarez & Marsal Partners
                                         Opportunities Fund, LP             Current
                                     Alvarez & Marsal Taxand UK LLP         Closed
                                     AMCO Dutchland, LLC                    Current
 Amazon Web Services Inc.            Zappos.com, Inc.                       Current



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                                     Entity, that is a K&E Client
 American Century Investment       David Findlay
   Management Inc.                                                        Current
 Nomura Holding America Inc.       John P. Graham                         Current
                                   John T. McCarthy                       Current
                                   Jonathan Thomas                        Current
                                   N. Dante Larocca                       Current
                                   Nathan Gorin                           Current
                                   Nomura Asset Acceptance
                                      Corporation                         Current
                                   Nomura Corporate Funding
                                      Americas, LLC                       Current
                                   Nomura Credit & Capital, Inc.          Current
                                   Nomura Holding America, Inc.           Current
                                   Nomura Home Equity Loan, Inc.          Current
                                   Nomura International (Hong Kong)
                                      Limited                             Current
                                   Nomura Securities International,
                                      Inc.                                Current
 Amundi Pioneer                    SG Americas Securities, LLC            Closed
 SG Americas Securities LLC
 Amundi Pioneer                    Crédit Agricole Corporate and
                                      Investment Bank                     Current
                                   Credit Agricole S.A.                   Closed
 Analytic Investors LLC            EnerVest Wachovia Co-Investments
                                      Partnership, L.P.                   Closed
 Wells Capital Management Inc.     NEC IX, LLC                            Closed
 Wells Fargo & Co.                 NEC VIII, LLC                          Closed
 Wells Fargo Advisors              Norwest Equity Capital, LLC            Closed
 Wells Fargo Bank NA               Norwest Equity Partners VIII, LP       Closed
 Wells Fargo Securities LLC        Norwest Venture Partners               Closed
                                   Norwest Venture Partners VI-A, LP      Closed
                                   Norwest Venture Partners VII-A, LP     Closed
                                   Norwest Venture Partners VIII, LP      Closed
                                   Wachovia Capital Partners
                                      Secondary Fund I, LP                Closed
                                   Wachovia Holdings Corporation          Closed
                                   Wachovia Investors, Inc.               Closed
                                   Wachovia Securities, LLC               Closed

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                                        Entity, that is a K&E Client
                                      Wells Fargo & Company                  Closed
                                      Wells Fargo Bank, N.A.                 Closed
                                      Wells Fargo Central Pacific
                                         Holdings, Inc.                      Closed
                                      Wells Fargo Securities LLC             Closed
                                      WFC Holdings Corporation               Closed
 Anchorage Capital Group              Anchorage Capital Europe LLP           Closed
                                      Anchorage Capital Group                Closed
 Apollo Capital Management LP         AEPF III 34 S.à r.l.                   Current
 Aspen Insurance Co.                  Apollo Global Management, LLC          Current
 Aspen Insurance Holdings Ltd.        Apollo Investment Management           Closed
 CareerBuilder LLC                    Apollo Management International
                                         LLP                                 Current
 West Safety Services Inc.            Marc Rowan                             Current
                                      Martin Kelly                           Current
                                      MidCap Financial Services, LLC         Current
                                      West Corporation                       Current
 AQR Capital Management LLC           AQR Capital Management Group
                                         GP LLC                              Current
                                      AQR Capital Management Group
                                         LP                                  Current
                                      AQR Capital Management, LLC            Current

 Argonaut Insurance Co.               Argo Group International Holdings,
                                         Ltd.                                Closed
 AT&T Inc.                            AT&T Corp.                             Current
 AT&T Pro Cabs                        AT&T Inc.                              Current
 AT&T Services Inc.                   AT&T Intellectual Property II L.P.     Current
 BellSouth LLC                        AT&T Intellectual Property LLC         Current
 BellSouth Pro Cabs                   AT&T Services, Inc.                    Current
                                      DIRECTV Customer Services, Inc.        Closed
                                      DIRECTV Enterprises, LLC               Current
                                      DIRECTV Group Holdings, LLC            Current
                                      DIRECTV Holdings LLC                   Current
                                      DIRECTV Merchandising, Inc.            Current
                                      DIRECTV Operations LLC                 Current
                                      DIRECTV Sports Network LLC             Current
                                      DIRECTV Sports Networks, LLC           Current

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       Name of Entity Searched                                             Status
                                       Entity, that is a K&E Client
                                   DIRECTV, LLC                            Current
                                   Teleport Communications of
                                       America, LLC                        Current
                                   The DIRECTV Group, Inc.                 Current
 Atlantic Broadband Finance LLC    Acquisitions Cogeco Cable II LP         Current
                                   Atlantic Broadband Finance, LLC         Current
                                   Cogeco Cable, Inc.                      Current
 Atlassian Pty Ltd.                Atlassian, Inc.                         Current
 Avaya Inc.                        Avaya Inc.                              Current
 AXIS Insurance Co.                Integrados de Servicios Petroleros
                                       Oro Negro, S.A.P.I. de C.V.         Closed
 Bain Capital Credit               Bain Capital Beteiligungsberatung
                                      GmbH                                 Closed
                                   Bain Capital Credit (Asia), LLC         Current
                                   Bain Capital Credit, L.P.               Current
                                   Bain Capital Credit, Ltd.               Current
                                   Bain Capital Double Impact              Current
                                   Bain Capital Europe, LLC                Current
                                   Bain Capital Everest Manager
                                      Holding, S.C.A.                      Closed
                                   Bain Capital Everest Manager
                                      S.a.r.l.                             Closed
                                   Bain Capital Investors, LLC             Current
                                   Bain Capital Private Equity (Asia),
                                      LLC                                  Current
                                   Bain Capital Private Equity
                                      (Europe), LLP                        Current
                                   Bain Capital Private Equity, LP         Current
                                   Bain Capital Public Equities            Current
                                   Bain Capital Public Equity, LP          Closed
                                   Bain Capital Rise Education (HK)
                                      Limited                              Current
                                   BC Investments X Limited                Current
                                   BCPE Max Dutch Bidco B.V.               Current
                                   BCPE Seminole Holdings LP               Current
                                   Fox (BC) B.V.                           Current
                                   Neo (BC) SpA                            Closed
                                   Neo (BC) Topco Limited                  Closed

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       Name of Entity Searched                                                Status
                                        Entity, that is a K&E Client
                                     Stephen Zide                             Current
 Bank of America Corp.               BA Capital Company, L.P.                 Former
 Bank of America Merrill Lynch       Banc of America Capital Investors
    (US)                                SBIC, L.P.                            Former
                                     BancAmerica Capital Investors
                                        SBIC II, L.P.                         Former
                                     BancBoston Ventures, Inc.                Former
                                     Bank of America Capital Investors        Former
                                     Bank of America Corporation              Former
                                     Bank of America Merrill Lynch            Current
                                     Bank of America Ventures                 Former
                                     Bank of America, N.A.                    Current
                                     Bank of America, N.A., Beijing
                                        Branch                                Closed
                                     Benjamin Klein                           Current
                                     Continental Illinois Venture
                                        Corporation                           Former
                                     Debby Presser                            Closed
                                     Heng Qu                                  Closed
                                     Merrill Lynch (Asia Pacific)
                                        Limited                               Closed
                                     Merrill Lynch Capital Services, Inc.     Closed
                                     Merrill Lynch Credit Products, LLC       Closed
                                     Merrill Lynch Far East Limited           Closed
                                     Merrill Lynch, Pierce, Fenner &
                                        Smith, Inc.                           Current
 Barbican Group Holdings Ltd.        Carlson Capital, L.P.                    Closed
 Carlson Capital LP
 Barclays Capital Inc.               Barclays                                 Current
                                     Barclays Bank plc                        Closed
                                     Barclays Capital                         Closed
                                     Barclays Capital Inc.                    Closed
 Beach Point Capital Management      Beach Point Capital Management
    LP                                  LP                                    Current
 BlackRock Financial Management      BlackRock Financial Management
    Inc.                                Inc.                                  Current
 BlackRock Institutional Trust Co.   Mark B. Florian
    NA                                                                        Current
                                     Patrick C. Eilers                        Current

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                                      Entity, that is a K&E Client
 BlueMountain Capital Management   BlueMountain Capital Management
    LLC                               L.P.                                Current
 BNY Mellon Asset Management       Alcentra Limited                       Closed
                                   BNY Mellon Capital Markets, LLC        Closed
 Broadsoft Inc.                    Cisco Consumer Products LLC            Current
 Cisco Systems Capital Corp.       Cisco Systems, Inc.                    Current
                                   Madhav Marathe                         Current
                                   Sanjib HomChaudhuri                    Current
                                   Sudhir Rao                             Current
 Cablevision Lightpath Inc.        Cablevision Systems Corporation        Current
 Cequel Communications LLC         Cequel Communications, LLC             Closed
                                   CSC Holdings Company                   Current
                                   CSC Holdings, LLC                      Current
                                   Neptune Holding US Corp.               Closed
 CareerBuilder LLC                 Ontario Teachers Pension Plan
                                      (Asia) Limited                      Current
                                   Ontario Teachers' Pension Plan
                                      Board                               Current
 CarVal Investors LLC              CarVal Investors LLC                   Current
                                   CI EREP OC II LLC                      Current
                                   CVI EREP OC I LLC                      Current
                                   CVI EREP OC III LLC                    Current
                                   CVI Europe Real Estate Partners        Current
                                   CVI Luxembourg Fifteen Sarl            Closed
                                   CVI Outer London LP (Cayman)           Current
                                   CVI Outer London, L.P.                 Current
                                   Roundwood Five Sarl                    Closed
 Caspian Capital LP                David Corleto                          Current
 CBRE Group Inc.                   CBRE Global Investors, Inc.            Current
 CBRE Inc.                         Kelly Silverman                        Closed
                                   UST-CB Partners, L.P.                  Current
 Charter Communications Inc.       Charter Communications Holdings,
                                      LLC                                 Current
 Charter Fiberlink LLC             Charter Communications Operating,
                                      LLC                                 Current
 Time Warner Cable                 Charter Communications, Inc.           Current
                                   Charter Communications, LLC            Current
                                   Charter Fiberlink - Missouri, LLC      Current

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                                        Entity, that is a K&E Client
                                    Spectrum Management Holding
                                        Company, LLC                        Current
                                    Time Warner Cable Inc.                  Current
                                    Time Warner Cable Information
                                        Services (Kansas), LLC              Current
                                    Time Warner Cable LLC                   Current
                                    Time Warner Entertainment
                                        Company, L.P.                       Current
                                    Time Warner Entertainment-
                                        Advance/Newhouse Partnership        Current
                                    TWC Communications, LLC                 Current
 Citadel Enterprise Americas LLC    Citadel LLC                             Current
                                    Citadel Securities, LLC                 Current
 Citi Investment Research (US)      Citibank                                Current
 Citibank                           Citicorp                                Current
 Citibank NA                        Citicorp Mezzanine III, L.P.            Current
                                    Citigroup Global Markets Asia
                                        Limited                             Current
                                    Citigroup Global Markets Inc.           Current
                                    Citigroup Global Markets Ltd.           Closed
                                    Citigroup Inc.                          Current
 CNA Insurance Cos.                 Consolidated Container Company          Current
                                    Continental Casualty Company            Current
                                    Kevin Leidwinger                        Former
 Comcast Corp.                      DreamWorks Animation SKG, Inc.          Closed
 Comcast Phone LLC                  Hulu LLC                                Current
 Commerce Bank                      Commerce Bancshares, Inc.               Current
                                    Commerce Bank                           Current
 Consolidated Fire Protection       ICG Europe Fund V Jersey Limited        Closed
                                    ICG Europe Fund VI Jersey Limited       Closed
                                    Intermediate Capital Group plc          Closed
 Corning Cable Systems LLC          Corning Cable Technology Systems,
                                        Inc.                                Current
                                    Corning Inc.                            Current
                                    Corning Optical Communications
                                        LLC                                 Current
 Cox Communications Inc.            NextGear Capital, Inc.                  Current
 Cox Media Group Inc.

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                                         Entity, that is a K&E Client
 Credit Suisse Asset Management       Credit Suisse
    LLC                                                                        Closed
 Credit Suisse Securities (USA) LLC   Credit Suisse (Hong Kong) Limited        Current
                                      Credit Suisse AG                         Current
                                      Credit Suisse AG, Executive Board        Current
                                      Credit Suisse Group AG                   Current
                                      Credit Suisse Group AG, Executive
                                         Board                                 Current
                                      Credit Suisse International              Current
                                      Credit Suisse Securities (Europe)
                                         Limited                               Closed
                                      Credit Suisse Securities (USA) LLC       Current
                                      Credit Suisse Securities Europe Ltd.     Closed
 Crown Castle Fiber LLC               Crown Castle NG Networks Inc.            Former
 Crown Castle USA Inc.
 Fibertech Networks LLC
 Lightower Fiber Networks
 Lightower Fiber Networks II LLC
 Sidera Networks Inc.
 CTC myCFO LLC                        BMO Capital Markets                      Closed
 CVC Capital Partners Ltd.            CVC Advisers Limited                     Current
                                      CVC Asia Pacific Limited                 Closed
                                      CVC Capital Partners Advisory
                                        (U.S.) Inc.                            Closed
                                      CVC Capital Partners Asia III
                                        Limited                                Closed
                                      CVC Capital Partners Asia Pacific
                                        III                                    Closed
                                      CVC Capital Partners Asia Pacific
                                        III L.P.                               Closed
                                      CVC Capital Partners Asia Pacific
                                        III Parallel Fund A, L.P.              Closed
                                      CVC Credit Partners, LLC                 Current
                                      CVC European Equity Partners IV
                                        (A) L.P.                               Closed
                                      CVC European Equity Partners IV
                                        (B) L.P.                               Closed
                                      CVC European Equity Partners IV
                                        (C) L.P.                               Closed

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                                      Entity, that is a K&E Client
                                   CVC European Equity Partners IV
                                      (D) L.P.                              Closed
                                   CVC European Equity Partners IV
                                      (E) L.P.                              Closed
                                   CVC European Equity V Limited            Current
 Delaware Investments              Green Bermuda Holdings Ltd.              Closed
                                   Macquarie Agricultural Funds
                                      Management Limited                    Current
                                   Macquarie Atlas Roads International
                                      Limited                               Closed
                                   Macquarie Atlas Roads Limited            Closed
                                   Macquarie CAF LLC                        Current
                                   Macquarie Capital Group Limited
                                      (U.K. Branch)                         Current
                                   Macquarie Capital Hong Kong
                                      Limited                               Closed
                                   Macquarie Capital USA Inc.               Current
                                   Macquarie Crop Partners Feeder,
                                      L.P.                                  Current
                                   Macquarie Crop Partners, L.P.            Current
                                   Macquarie Group Investments (UK)
                                      No. 2 Limited                         Current
                                   Macquarie Holdings (U.S.A.) Inc.         Current
                                   Macquarie Infrastructure & Real
                                      Assets (Europe) Limited               Current
                                   Macquarie Infrastructure and Real
                                      Assets Inc.                           Current
                                   Macquarie Infrastructure and Real
                                      Assets Mexico, SA de CV               Current
                                   Macquarie Infrastructure and Real
                                      Assets, Inc.                          Current
                                   Macquarie Infrastructure
                                      Management (Asia) Pty Limited,
                                      Singapore Branch                      Current
                                   Macquarie Infrastructure Partners II
                                      GP, LLC                               Closed
                                   Macquarie Infrastructure Partners
                                      III, L.P.                             Current
                                   Macquarie Infrastructure Partners        Current

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                                       Entity, that is a K&E Client
                                        Inc.
                                     Macquarie Infrastructure Partners
                                        IV, L.P.                            Current
                                     Macquarie New York Parking 2,
                                        LLC                                 Closed
                                     MIP IV ECI (AIV), L.P.                 Current
                                     MIRA Americas Inc.                     Current
                                     MQA 125 Holdings, Inc.                 Closed
                                     MQA Holdings (US) LLC                  Closed
                                     MQA Indiana Holdings LLC               Closed
 Deutsche Asset Management (UK)      DB U.S. Financial Markets
    Ltd.                                                                    Current
 Deutsche Asset Management           Deutsche Bank
    Americas                                                                Closed
                                     Deutsche Bank AG                       Current
                                     Deutsche Bank AG, London Branch        Closed
                                     Deutsche Bank AG, New York
                                         Branch                             Current
                                     Deutsche Bank Americas Holding
                                         Corporation                        Current
                                     Deutsche Bank Securities Inc.          Current
                                     Deutsche Bank Trust Company
                                         Americas                           Current
                                     Deutsche Bank Trust Corporation        Current
                                     RREEF Management Company               Closed
 Dispatch Inc.                       WeWork Companies Inc.                  Current
 Duff & Phelps LLC                   Brian Ruder                            Current
                                     Duff & Phelps Corp.                    Current
                                     Noah Gottdiener                        Current
                                     Permira Credit Solutions III G.P.
                                         Limited                            Current
 Duke Energy Corp.                   Piedmont Natural Gas                   Closed
 Elliott Management Corp.            Elliott Management Corporation         Closed
                                     Evergreen Coast Capital Corp.          Former
 Empirix Inc.                        Empirix Inc.                           Current
                                     Orlando Bravo                          Current
                                     Paul Holden Spaht, Jr.                 Current
                                     Scott Crabill                          Current

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                                           Entity, that is a K&E Client
                                        Seth J. Boro                            Current
                                        Thoma Bravo Foundation                  Current
                                        Thoma Bravo LLC                         Current
 Ernst & Young LLP                      Ernst & Young LLP                       Closed
                                        Ernst & Young U.S. LLP                  Closed
 Evercore Group                         Evercore Partners Inc.                  Closed
 Extensity                              Angel Island Capital Management,
                                            LLC                                 Current
 Infor Global Solutions Inc.            David C. Dominik                        Current
 Neustar Inc.                           David Thomas                            Former
                                        Golden Gate Capital                     Current
                                        Golden Gate Capital Opportunity
                                            Fund, L.P.                          Current
                                        Infor Global Solutions Inc.             Current
                                        Kenneth James Diekroeger                Current
                                        Neustar, Inc.                           Current
                                        Prescott Ashe                           Closed
                                        Rachel Masory                           Former
                                        Robert O'Connor Little                  Former
 Fedex Corp.                            FedEx Trade Networks, Inc.              Closed
 Forsythe Solutions Group Inc.          Kelso & Company                         Current
 Fortress Investment Group              Clearwire Corporation                   Closed
 Sprint Corp.                           Daniel N. Bass                          Current
                                        Dean Dakolias                           Current
                                        Fortress Credit Corporation             Current
                                        Fortress Investment Group               Current
                                        SB Group US, Inc.                       Current
                                        SB Investment Advisers (UK)
                                            Limited                             Current
                                        SB Investment Advisers (US) Inc.        Current
                                        Softbank Group Corp.                    Current
                                        SoftBank Vision Fund                    Current
 Fox Sports North                       Hulu LLC                                Current
 SportSouth Network LLC                 Twentieth Century Fox Film
                                            Corporation                         Current
                                        Twenty-First Century Fox, Inc.          Current
                                        Walt Disney Company, The                Closed


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                                         Entity, that is a K&E Client
 FPL                                  ClearSky Power & Technology
                                         Fund I LLC                           Closed
 FPL Fibernet Holdings LLC            NextEra Energy, Inc.                    Closed
 Frontier Communications Corp.        Frontier Communications
                                         Corporation                          Current
 Frontier Telephone of Rochester
    Inc.
 Garrison Investment Group LP         Garrison Investment Group LP            Current
                                      GIG Atlanta Galleria PropCo LLC         Former
 GE Power Electronics Inc.            GE Energy Financial Services            Current
                                      GE-Hitachi Nuclear Energy, Inc.         Closed
                                      General Electric Company                Current
                                      Lightfoot Capital Partners              Closed
 GlobalLogic Inc.                     GlobalLogic, Inc.                       Current
                                      Odessa Topco Corp.                      Closed
 GoldenTree Asset Management          GoldenTree Asset Management UK
                                         LLP                                  Closed
                                      GoldenTree Asset Management, L.P        Closed
 Goldman Sachs & Co. Inc.             Aavid Thermalloy                        Former
                                      Goldman Sachs                           Current
                                      Goldman Sachs (Asia) LLC                Current
                                      Goldman Sachs Asset Management
                                         International                        Current
                                      Goldman Sachs MB Services
                                         Limited                              Closed
                                      Goldman Sachs Trust Company of
                                         Delaware                             Current
 Hayfin Capital Management LLP        British Columbia Investment
                                          Management Corporation              Current
                                      QuadReal Property Group Limited
                                          Partnership                         Current
 HBK Investments LP                   HBK Capital Management                  Current
 HCC Insurance Holdings Inc.          HCC Insurance Holdings, Inc.            Current
                                      HCC Life Insurance Company              Current
                                      HCC Specialty Insurance Company         Current
                                      HCC Specialty Underwriters, Inc.        Current
                                      Houston Casualty Company                Current
                                      Professional Indemnity Agency, Inc.     Current

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                                          Entity, that is a K&E Client
 Highland Capital Management LP        Highland Europe (UK) LLP               Current
                                       Highland Europe Technology
                                          Growth II Limited Partnership       Current
                                       Highland Europe Technology
                                          Growth III Limited Partnership      Current
                                       Highland Europe Technology
                                          Growth Limited Partnership          Current
 Houlihan Lokey Inc.                   Houlihan Lokey EMEA, LLP               Current
 HSBC Bank plc                         HSBC Alternative Investments
                                          Limited                             Closed
                                       HSBC Bank USA, N.A.                    Closed
                                       HSBC Corporate Finance (Hong
                                          Kong) Limited                       Closed
                                       HSBC Finance Corporation               Closed
                                       HSBC Holdings plc                      Current
                                       HSBC Securities (USA) Inc.             Closed
                                       The HongKong and Shanghai
                                          Banking Corporation Limited         Closed
 IBM Corp.                             David C. Chaffetz                      Current
                                       IBM Canada Ltd.                        Current
                                       IBM Corporation                        Current
                                       IBM Credit, LLC                        Closed
 Impact Telecom Inc.                   Jeffrey A. Weber                       Closed
                                       York Capital Management                Current
                                       York Capital Management Europe
                                           (UK) Advisor LLP                   Current
 Ingram Micro Inc.                     HNA Technology Investments
                                         Holdings, Limited                    Closed
 Inteliquent Inc.                      Benjamin J. Daverman                   Current
                                       Brian C. Gornick                       Current
                                       Christian B. McGrath                   Current
                                       Constantine S. Mihas                   Current
                                       GTCR Fund VI, L.P.                     Closed
                                       GTCR Partners VI, L.P.                 Current
                                       GTCR, LLC                              Current
                                       Inteliquent                            Closed
                                       Josh M. Earl                           Former
                                       Lawrence C. Fey, IV                    Closed

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                                          Entity, that is a K&E Client
                                      Neil W. Willis                           Closed
                                      Sean L. Cunningham                       Current
 Invesco Capital Management LLC       Invesco Private Capital, Inc.            Current
                                      Invesco Senior Secured
                                          Management, Inc.                     Current
                                      WL Ross & Co. LLC                        Former
 Jardine Lloyd Thompson Group plc     David Payne                              Current
                                      JLT Specialty Insurance Services
                                          Inc.                                 Closed
 Jefferies LLC                        Jefferies Finance LLC                    Current
                                      Jefferies Hong Kong Limited              Closed
                                      Jefferies LLC                            Closed
 Johnson Controls International PLC   ShopperTrak RCT Corporation              Current
 Tyco Integrated Security LLC
 JP Morgan Asset Management Inc.      Beth Cottrell                            Closed
 JP Morgan Securities LLC             Chase Bank USA, NA                       Current
 JPMorgan Asset Management            Chase Paymentech Solutions, LLC
    (Japan) Ltd.                                                               Current
 JPMorgan Chase Bank NA               Christina Trowbridge                     Closed
 JPMorgan Private Bank (United        Cynthia A. Riley
    States)                                                                    Closed
                                      Highbridge Capital Management,
                                          LLC                                  Current
                                      J.P. Morgan Securities (Far East)
                                          Limited                              Current
                                      J.P. Morgan Securities Asia Pacific
                                          Limited                              Current
                                      J.P. Morgan Securities LLC               Current
                                      JP Morgan Chase & Co.                    Current
                                      JPMorgan Asset Management -
                                          Global Real Assets                   Former
                                      JPMorgan Chase & Co.                     Current
                                      JPMorgan Chase Bank, N.A.                Current
                                      JPMorgan Funds Limited                   Current
                                      JPMorgan Investment Management
                                          Inc. - Global Special Situations     Current
                                      JPMorgan Investment Management
                                          Inc. - Infrastructure Investment
                                          Group                                Current

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                                      Entity, that is a K&E Client
                                   Paymentech, LLC                        Current
                                   Whitney Cook                           Closed
 KCC LLC                           Computershare Holdings Inc.            Closed
                                   Computershare Inc.                     Closed
                                   Computershare Limited                  Closed
                                   Specialized Loan Servicing
                                      Holdings LLC                        Closed
                                   Specialized Loan Servicing LLC         Closed
 Kentucky Utilities Co.            Kentucky Utilities Co.                 Current
                                   LG&E and KU Energy LLC                 Current
 KeyBank                           KeyBanc Capital Markets Inc.           Current
 KPMG LLP                          KPMG (HK)                              Current
                                   KPMG (Ireland)                         Current
                                   KPMG Auditores, S.L.                   Current
                                   KPMG International Cooperative         Current
                                   KPMG Law Firm                          Current
                                   KPMG LLP                               Current
                                   KPMG LLP (Canada)                      Current
 LivePerson Inc.                   Contact at Once Limited                Current
                                   Contact at Once!, LLC                  Current
                                   Engage Pty Ltd.                        Current
                                   Kasamba, Inc.                          Current
                                   Kasamba, Ltd.                          Current
                                   Kato Acquisition Sub, Inc.             Current
                                   LivePerson (UK) Limited                Current
                                   LivePerson Australia Holdings Pty
                                      Ltd.                                Current
                                   LivePerson Australia Pty Ltd.          Current
                                   LivePerson France SARL                 Current
                                   LivePerson Germany GmbH                Current
                                   LivePerson Italy SRL                   Current
                                   LivePerson Japan K.K.                  Current
                                   LivePerson LLC                         Current
                                   LivePerson Ltd.                        Current
                                   LivePerson Netherlands B.V.            Current
                                   LivePerson Singapore Pte. Ltd.         Current
                                   LivePerson, Inc.                       Current
                                   LP IP Holdings LLC                     Current

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                                      Entity, that is a K&E Client
                                   LPSN International C.V.                Current
                                   Proficient Systems, Inc.               Current
 M&T Bank                          Wilmington Trust SP Services
                                      (Frankfurt) GmbH                    Closed
 Wilmington Trust NA               Wilmington Trust-London Limited        Current
 Markel Corp.                      Markel Corporation                     Current
                                   Markel Ventures, Inc.                  Current
 McAfee Inc.                       TPG Asia VI SF Pte. Ltd.               Current
                                   TPG Capital                            Current
                                   TPG China Limited                      Current
                                   TPG Europe                             Current
                                   TPG Global, Inc.                       Current
                                   TPG Global, LLC                        Current
                                   TPG Growth, LLC                        Current
                                   TPG RE II Arlington SPV I,
                                      Limited Partnership (PEI)           Current
                                   TPG RE II Arlington SPV II,
                                      Limited Partnership (PEI)           Current
                                   TPG RE II Arlington SPV III,
                                      Limited Partnership (PEI) (2)       Current
                                   TPG Real Estate                        Current
                                   TPG Real Estate Partners II, LP        Current
                                   TPG Sixth Street Partners, LLC         Current
                                   TPG Star VPSI, L.P.                    Current
 MCI Worldcom                      GTE Wireless                           Closed
 Networkfleet Inc.                 MCI Communications Services, Inc.      Closed
 Verizon                           Verizon Business Global LLC            Closed
 XO Communications LLC             Verizon Communications Inc.            Current
                                   Verizon Enterprise Solutions, LLC      Closed
                                   Verizon New England, Inc.              Closed
                                   Verizon New York, Inc.                 Closed
                                   Verizon North Inc.                     Closed
                                   Verizon North Inc. - PA                Closed
                                   Verizon Pennsylvania Inc.              Closed
                                   Verizon Washington, D.C., Inc.         Closed
 Metaswitch Networks               Metaswitch Networks Ltd.               Current
                                   Sequoia Capital                        Current
 Metaswitch Networks               Francisco Partners IV, L.P.            Current

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                                   Francisco Partners IV-A, L.P.          Current
                                   Francisco Partners Management,
                                      L.P.                                Current
                                   Metaswitch Networks Ltd.               Current
 Millennium Management LLC         Millennium Management LLC              Closed
 Mitel Networks Corp.              Oliver Haarmann                        Closed
 Mitel Technologies Inc.           Searchlight Capital Partners, L.P.     Current
 MSD Capital LP                    MSD Partners, L.P.                     Current
 Nationwide Mutual Insurance Co.   Nationwide Life Insurance              Closed
                                   Nationwide Mutual Insurance
                                      Company                             Current
                                   Veterinary Pet Insurance Company       Current
 Neuberger Berman Group LLC        Capital Analytics II LLC               Current
                                   NB Alternative Asset Allocation
                                      Advisers LLC                        Current
                                   NB Alternative Fund Management
                                      GP LLC                              Current
                                   NB Alternative Fund Management
                                      LLC                                 Current
                                   NB Alternative Investment
                                      Management GP LLC                   Current
                                   NB Alternative Investment
                                      Management LLC                      Current
                                   NB Alternatives Advisers LLC           Current
                                   NB Alternatives Advisors LLC           Current
                                   NB Alternatives GP (Offshore) Ltd.     Current
                                   NB Alternatives GP Holdings LLC        Current
                                   NB Alternatives Holdings LLC           Current
                                   NB Amerique du Nord Diversifie
                                      PE 2007 FP GP LLC                   Current
                                   NB Amerique du Nord Diversifie
                                      PE 2007 GP LLC                      Current
                                   NB Co-Investment Associates
                                      Cayman GP Ltd.                      Current
                                   NB Co-Investment Associates GP
                                      LLC                                 Current
                                   NB Crossroads 2010 Fund GP LLC         Current
                                   NB Crossroads Fund XVII GP LLC         Current

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                                   NB Crossroads Fund XVIII GP LLC        Current
                                   NB Emerging Manager GP LLC             Current
                                   NB Equity Management GP LLC            Current
                                   NB IN PERF VC Fund GP LLC              Current
                                   NB Investment Holdings Associates
                                      GP LLC                              Current
                                   NB PEP GP Limited                      Current
                                   NB Secondary Fund of Funds
                                      Associates LP                       Current
                                   NB Secondary Opportunities
                                      Associates GP LLC                   Current
                                   NB Secondary Opportunities
                                      Associates II GP LLC                Current
                                   NB Tangible Assets GP LLC              Current
                                   NB THL Fund VI Manager LLC             Current
                                   NB/NJ Investment Fund GP LLC           Current
                                   NBDOF GP LLC                           Current
                                   NBEH Ltd.                              Current
                                   NBSH Acquisition LLC                   Current
                                   Neuberger Berman AA LLC                Current
                                   Neuberger Berman Asia Holdings II
                                      LLC                                 Current
                                   Neuberger Berman Asia Holdings
                                      LLC                                 Current
                                   Neuberger Berman Asia Limited          Current
                                   Neuberger Berman Company of
                                      Delaware                            Current
                                   Neuberger Berman Europe Holdings
                                      II LLC                              Current
                                   Neuberger Berman Europe Holdings
                                      LLC                                 Current
                                   Neuberger Berman Europe Ltd.           Current
                                   Neuberger Berman Fixed Income
                                      Holdings LLC                        Current
                                   Neuberger Berman Fixed Income
                                      LLC                                 Current
                                   Neuberger Berman Group LLC             Current



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                                      Neuberger Berman Investment
                                         Management Consulting
                                         (Shanghai) Co Ltd.                    Current
                                      Neuberger Berman Japan Limited           Current
                                      Neuberger Berman LLC                     Current
                                      Neuberger Berman Management
                                         LLC                                   Current
                                      Neuberger Berman Mortgage
                                         Opportunity Assoiates Ltd.            Current
                                      Neuberger Berman Services LLC            Current
                                      Neuberger Berman Singapore Pte.
                                         Ltd.                                  Current
                                      Neuberger Berman Trust Company           Current
                                      Neuberger Berman Trust Holdings
                                         LLC                                   Current
                                      Neuberger Holdings LLC                   Current
 New York City, City of (NY)          New York City Commission on
                                         Human Rights                          Closed
 North Carolina, State of,            Philip E. Berger, as a member of the
    Department of Justice                 North Carolina State Board of
                                          Elections                            Closed
                                      State of North Carolina                  Current
                                      Timothy K. Moore, as a member of
                                          the North Carolina State Board
                                          of Elections
                                                                               Closed
 Northern Trust Global Investments    50 South Capital Advisors, LLC           Current
 Northern Trust Investments Inc.      Northern Trust Fiduciary Services
                                         (Guernsey) Limited                    Current
 NuArx Inc.                           One Equity Partners                      Current
 Nuveen LLC                           Teachers Insurance and Annuity
                                         Association of America                Closed
 Onex Credit Partners LLC             ONCAP Management                         Current
                                      Onex Corporation                         Closed
                                      Onex Partners Manager, L.P.              Closed
 Optiv Security Inc.                  KKR Asia Limited                         Current
                                      KKR Credit Advisors (US) LLC             Current
                                      KKR REPA AIV-2, L.P.                     Current
                                      Kohlberg Kravis Roberts & Co. L.P.       Current

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                                         Entity, that is a K&E Client
                                     Optiv Security Inc.                     Current
                                     Pillarstone Europe LLP                  Current
 Oracle America Inc.                 Oracle America, Inc.                    Current
                                     Oracle Corporation                      Current
                                     Oracle International Corporation        Current
                                     Oracle USA, Inc.                        Current
 PanAgora Asset Management Inc.      Sagard Capital Partners, L.P.           Former
 Partners Group AG                   Constantin Investissement 4 SASU        Current
                                     Partners Group Administrative
                                         Services AG                         Closed
                                     Partners Group AG                       Closed
                                     Partners Group Global Mezzanine
                                         2005 S.C.A., SICAR                  Current
                                     Partners Group Guernsey Limited         Current
                                     Partners Group Holding AG               Current
                                     Partners Group Secondary Fund
                                         2002, L.P.                          Current
                                     Partners Group Secondary Fund KG
                                         GmbH                                Current
                                     PG Impact Investments AG                Current
 PDT Partners LLC                    PDT Partners, LLC                       Closed
 Pennsylvania, Commonwealth of,      Office of the General Counsel of
    Office of Attorney General,          Pennsylvania
    Bureau of Consumer Protection                                            Current
 Pennsylvania, Commonwealth of,      Office of the Governor of
    Public Utility Commission           Pennsylvania                         Current
 Pennsylvania, Commonwealth of,      Office of the Secretary of State of
    Public Utility Commission,          Pennsylvania
    Office of Consumer Advocate                                              Current
                                     Pennsylvania Higher Education
                                        Assistance Agency                    Current
 Pension Benefit Guaranty Corp.      2010-1 SFG Venture LLC                  Closed
 United States, Government of the,   Carmen Villar Prados, as the
    Federal Communications              Executive Director of the Puerto
    Commission                          Rico Highways &
                                        Transportation Authority             Closed
                                     Commonwealth of Puerto Rico             Closed
                                     Eddie Baza Calvo                        Current

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                                     Name of Entity and/or Affiliate of
       Name of Entity Searched                                                Status
                                       Entity, that is a K&E Client
                                     Employees' Retirement System of
                                       the Government of the
                                       Commonwealth of Puerto Rico            Closed
                                     Government Development Bank of
                                        Puerto Rico                           Closed
                                     Government of Guam                       Current
                                     Konstantina Diamantopoulos               Former
                                     Luis F. Cruz Batista, as Director of
                                        the Office of Management and
                                        Budget of the Commonwealth of
                                        Puerto Rico                           Closed
                                     Puerto Rico Aqueduct and Sewer
                                        Authority                             Closed
                                     Puerto Rico Fiscal Agency and
                                        Financial Advisory Authority          Closed
                                     Rep. William Ballard Hurd, as a
                                        member of the United States
                                        Congress                              Closed
                                     Rick Perry, as former Governor of
                                        Texas                                 Closed
                                     United States Department of
                                        Homeland Security                     Closed
 Perella Weinberg Partners LP        Chip L. Baird and David L.
                                         Ferguson                             Current
                                     Perella Weinberg Partners LP             Former
 PIMCO (US)                          Allianz Capital Partners GmbH            Closed
                                     Donald Suskind                           Closed
                                     LVS 1 LLC                                Closed
                                     Pacific Investment Management
                                         Company, LLC                         Current
                                     PIMCO Bravo Fund I, L.P.                 Closed
                                     PIMCO Dynamic Income Fund                Closed
 PJT Partners Inc.                   PJT Partners (UK) Limited                Current
                                     PJT Partners Holdings LP                 Current
 PowerPlan Inc.                      On Center Holdings, LLC                  Closed
                                     PowerPlan, Inc.                          Current
 PPM America Inc.                    PPM America, Inc.                        Current
 Pricewaterhouse Coopers LLP         Chui Chi Yee Gavin                       Closed
                                     Huang Jia                                Closed

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                                    Name of Entity and/or Affiliate of
       Name of Entity Searched                                             Status
                                        Entity, that is a K&E Client
                                    Price Waterhouse & Co. S.R.L.          Former
                                    PricewaterhouseCoopers Business
                                        Consulting (Shanghai) Co. Ltd.     Closed
                                    PricewaterhouseCoopers
                                        Consultores, Auditores y
                                        Compania Limitada                  Current
                                    PricewaterhouseCoopers Hong
                                        Kong Limited                       Closed
                                    PricewaterhouseCoopers
                                        International Limited              Closed
                                    PricewaterhouseCoopers Limited         Closed
                                    PricewaterhouseCoopers LLP             Current
                                    PricewaterhouseCoopers LLP
                                        Ontario                            Current
                                    PricewaterhouseCoopers Zhong
                                        Tian LLP                           Closed
                                    PricewaterhouseCoopers, as
                                        Receiver for Independent Trust
                                        Corporation                        Closed
                                    Yeung Wai Chi                          Closed
 PrivateBank, The                   CIBC Capital Markets                   Closed
                                    CIBC World Markets Corp.               Closed
                                    CIBC World Markets, Inc.               Closed
 Prudential Asset Management Co.    Prudential Insurance Company of
    Inc.                                America                            Closed
 Quickbase Inc.                     QuickBase, Inc.                        Current
 Raymond James & Associates Inc.    Raymond James & Associates, Inc.       Closed
 Raymond James Financial Services
    Advisors Inc.
 RBC Capital Markets Wealth         AAM Alternative Investment
    Management                         Strategies Ltd.                     Closed
 RBC Global Asset Management        BlueBay Asset Management
    (US) Inc.                          Services Ltd.                       Current
 Royal Bank of Canada               RBC Capital Markets                    Closed
                                    RBC Capital Markets Corporation        Closed
                                    RBC Select Hedge Fund Portfolio
                                       Ltd.                                Closed
                                    RBC Wealth Management                  Current
                                    Royal Bank of Canada                   Closed

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                                         Name of Entity and/or Affiliate of
       Name of Entity Searched                                                  Status
                                            Entity, that is a K&E Client
 Receivable Management Services          Gary Crittenden
    LLC                                                                         Former
                                         HGGC, LLC                              Current
                                         Hudson D. Smith, Jr.                   Former
                                         iQor Holdings Inc.                     Current
                                         J. Steven Young                        Former
                                         Kurt A. Krieger                        Former
                                         Leslie M. Brown, Jr.                   Current
                                         Neil H. White                          Current
                                         Richard F. Lawson                      Current
 Rothschild & Co.                        Five Arrows Principal Investments      Closed
                                         Rothschild Inc.                        Closed
                                         Todd R. Snyder                         Closed
 Sailpoint Technologies Inc.             SailPoint Technologies, Inc.           Current
 SITEL Corp.                             Sitel Worldwide Corporation            Closed
 Solus Alternative Asset                 Solus Alternative Asset
     Management LP                           Management LP                      Current
 Southern California Edison Co.          Southern California Edison
                                             Company                            Closed
 Starr International Co. Inc.            Starr International Company, Inc.      Former
                                         Starr Investment Holdings, LLC         Closed
                                         Starr Principal Holdings, LLC          Current
 Stone Ridge Asset Management            Stone Ridge Asset Management
    LLC                                      LLC                                Current
 Suntrust Bank                           SunTrust Bank                          Current
 Suntrust Equipment Finance &            SunTrust Banks, Inc.
    Leasing Corp.                                                               Current
                                         SunTrust Capital Markets Inc.          Closed
 Tata Consultancy Services Ltd.          Tata America International
                                             Corporation                        Current
                                         Tata Consultancy Services Limited      Current
 TelStrat LLC                            David McGovern                         Former
 True Office Learning Inc.               Marlin Management Company, LLC         Current
                                         Peter B. Spasov                        Current
 Thomas & Betts Corp.                    ABB Ltd.                               Closed
 Thrivent Financial for Lutherans        Thrivent Financial for Lutherans       Closed
 TIBCO Software Inc.                     Adrian R. Alonso                       Closed
                                         Anand Anbalagan                        Former

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                                     Name of Entity and/or Affiliate of
       Name of Entity Searched                                               Status
                                         Entity, that is a K&E Client
                                     Brian Niranjan Sheth                    Current
                                     Christian B. Sowul                      Current
                                     Jacob H. Hodgman                        Closed
                                     James Morrill Ford                      Current
                                     Jeffrey Wilson                          Current
                                     John Warnken-Brill                      Current
                                     Justin Cho                              Former
                                     Marc Teillon                            Current
                                     Martin Taylor                           Former
                                     Michael Fosnaugh                        Current
                                     Monti Saroya                            Current
                                     Robert B. Rogers                        Current
                                     Robert F. Smith                         Current
                                     Rod M. Aliabadi                         Current
                                     Stephen Seelbach                        Current
                                     Tibco Software, Inc.                    Current
                                     Vista Consulting Group                  Current
                                     Vista Consulting Group, Inc.            Current
                                     Vista Endeavor Fund                     Former
                                     Vista Equity Partners                   Current
                                     Vista Equity Partners Fund VI, L.P.     Closed
 TNS Inc.                            Frank Baker                             Current
 Transaction Network Services Inc.   Jeffrey M. Hendren                      Current
                                     Peter E. Berger                         Current
                                     Siris Capital Group, LLC                Current
                                     Siris Partners GP II, LLC               Current
 Tollgrade Communications Inc.       Tollgrade Communications, Inc.          Closed
 Travelers Indemnity Co., The        The Travelers Companies, Inc.           Current
 Travelers Insurance Co. Ltd.
 TVC Albany Inc.                     Antin Infrastructure Partners           Current
 Two Sigma Investments LP            TS CAF Holdings, LLC                    Current
                                     Two Sigma Holdings VC
                                        Acquisition Vehicle II, LLC.         Current
                                     Two Sigma Investments, LLC              Current
                                     Two Sigma Private Investments
                                        Fund, LLC                            Current
 UBS Securities LLC                  Kerry F. Zinn                           Current
                                     Seema Khanna                            Current

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                                     Name of Entity and/or Affiliate of
       Name of Entity Searched                                                Status
                                         Entity, that is a K&E Client
                                     UBS AG, London Branch                    Current
                                     UBS Asset Management Funds
                                         Limited                              Current
                                     UBS Financial Inc.                       Closed
                                     UBS Financial Services, Inc.             Current
                                     UBS Global Asset Management Inc.         Closed
                                     UBS Investment Bank                      Current
                                     UBS O'Connor LLC                         Current
                                     UBS Securities Hong Kong Limited         Current
                                     UBS Securities LLC                       Current
                                     UBS Warburg                              Current
 US Bank NA                          U.S. Bancorp                             Current
                                     U.S. Bank                                Current
                                     U.S. Bank National Association           Current
 USAA Investment Management Co.      USAA Real Estate Company                 Current
 USIC Inc.                           Leonard Green & Partners                 Current
 USIC Locating Services LLC          Leonard Green & Partners L.P.            Current
                                     Peter Nolan                              Closed
 Velocity Technology Solutions III   Silver Lake Financial Management
    Inc.                                 Company, L.L.C.                      Closed
                                     Silver Lake Kraftwerk Fund, L.P.         Current
                                     Silver Lake Partners L.P.                Current
                                     Silver Lake Sumeru                       Current
                                     Sumeru Equity Partners L.P.              Current
 Victory Capital Management Inc.     Crestview Partners                       Closed
                                     Crestview Partners LP                    Current
                                     Robert V. Delaney                        Current
 Virtu Americas LLC                  Virtu Financial, Inc.                    Current
 Warner Music Group Inc.             Access Industries, Inc.                  Current
                                     Clal Industries and Investments Ltd.     Closed
                                     Warner Music Group Corp.                 Closed
 WhiteHorse Capital Partners         Bayside Capital                          Current
                                     H.I.G. Bayside Loan Opportunity
                                         (Cayman) Fund II, L.P.               Current
                                     H.I.G. Bayside Loan Opportunity
                                         Fund II, L.P.                        Current
                                     H.I.G. Capital LLC                       Current
                                     H.I.G. Capital Management, Inc.          Current
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                                   Name of Entity and/or Affiliate of
       Name of Entity Searched                                              Status
                                      Entity, that is a K&E Client
                                   H.I.G. Capital Partners II, L.P.         Current
                                   H.I.G. Capital Partners III, L.P.        Current
                                   H.I.G. Europe Capital Partners, L.P.     Current
                                   H.I.G. European Capital Partners
                                       LLP                                  Current
                                   H.I.G. Realty Partners                   Current
                                   H.I.G. Venture Investments, L.P.         Current
                                   H.I.G. Venture Partners, L.P.            Current
                                   Rob Wolfson                              Closed
 Willis Towers Watson              Willis Towers Watson plc                 Closed
 Wolverine Trading LLC             Christopher Gust                         Current
                                   Eric J. Henschel                         Current
                                   Robert R. Bellick                        Current
 WOW! Internet Cable & Phone       WideOpenWest Holdings, LLC               Current
 Xerox Corp.                       Xerox Corp.                              Current




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                                     Exhibit C

                                 Moody Declaration
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    WINDSTREAM HOLDINGS, INC., et al.,1                         )        Case No. 19-22312 (RDD)
                                                                )
                                       Debtors.                 )        (Jointly Administered)
                                                                )

          DECLARATION OF KRISTI MOODY, EXECUTIVE VICE PRESIDENT,
          GENERAL COUNSEL, AND CORPORATE SECRETARY, IN SUPPORT
           OF THE DEBTOR’S APPLICATION AUTHORIZING THE RETENTION
      AND EMPLOYMENT OF KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
      INTERNATIONAL LLP AS ATTORNEYS FOR THE DEBTORS AND DEBTORS
        IN POSSESSION EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

             I, Kristi Moody, Executive Vice President, General Counsel, and Corporate Secretary of

Windstream Holdings, Inc., being duly sworn, state the following under penalty of perjury:

             1.   I am the Executive Vice President, General Counsel, and Corporate Secretary of

Windstream Holdings, Inc., located at 4001 North Rodney Parham Road, Little Rock, Arkansas

72212, and all of the affiliate Debtor companies.

             2.   I submit this declaration (the “Declaration”) in support of the Debtors’ Application

Authorizing the Retention and Employment of Kirkland & Ellis LLP as Attorneys for the Debtors

and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date (the “Application”).2

Except as otherwise noted, I have personal knowledge of the matters set forth herein.




1     The last four digits of Debtor Windstream Holdings, Inc.’s tax identification number are 7717. Due to the large
      number of Debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of
      the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing
      agent at http://www.kccllc.net/windstream. The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 4001 North Rodney Parham Road, Little Rock, Arkansas 72212.
2     Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
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                               The Debtors’ Selection of Counsel

       3.      The Debtors recognize that a comprehensive review process is necessary when

selecting and managing chapter 11 counsel to ensure that bankruptcy professionals are subject to

the same client-driven market forces, scrutiny, and accountability as professionals in

non-bankruptcy engagements.

       4.      To that end, the review process utilized by the Debtors here assessed potential

counsel based on their expertise in the relevant legal issues and in similar proceedings. Kirkland

represented the Debtors in litigation and general corporate matters beginning in August 2017. As

a result, Kirkland is intimately familiar with the Debtors’ operations and capital structure.

       5.      Ultimately, the Debtors retained Kirkland because of its extensive experience in

corporate reorganizations, both out-of-court and under chapter 11 of the Bankruptcy Code. More

specifically, Kirkland is familiar with the Debtors’ business operations and many of the potential

legal issues that may arise in the context of these chapter 11 cases. I believe that Kirkland is both

well qualified and uniquely able to represent the Debtor in these chapter 11 cases in an efficient

and timely manner.

                                          Rate Structure

       6.      In my capacity as Executive Vice President, General Counsel, and Corporate

Secretary, I am responsible for supervising outside counsel retained by the Debtors in the ordinary

course of business. Kirkland has informed the Debtors that its rates for bankruptcy representations

are comparable to the rates Kirkland charges for non-bankruptcy representations. As discussed

below, I am also responsible for reviewing the statements regularly submitted by Kirkland, and

can confirm that the rates Kirkland charged the Debtors in the prepetition period, taking into




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account ordinary course rate increases as described in the Hessler Declaration, are the same as the

rates Kirkland will charge the Debtors in the postpetition period.

                                         Cost Supervision

       7.      The Debtors have approved the prospective budget and staffing plan for the period

from February 25, 2019, to June 25, 2019, recognizing that in the course of a large chapter 11 case

like these chapter 11 cases, it is possible that there may be unforeseen fees and expenses to be

addressed by the Debtors and Kirkland. The Debtors further recognize that it is their responsibility

to monitor closely the billing practices of their counsel to ensure the fees and expenses paid by the

estate remain consistent with the Debtors’ expectations and the exigencies of the chapter 11 cases.

The Debtors will continue to review the statements that Kirkland regularly submits, and, together

with Kirkland, amend the budget and staffing plans periodically, as the case develops.

       8.      As they did prepetition, the Debtors will continue to bring discipline, predictability,

client involvement, and accountability to the counsel fees and expenses reimbursement process.

While every chapter 11 case is unique, these budgets will provide guidance on the periods of time

involved the level of the attorneys and professionals that will work on various matters, and

projections of average hourly rates for the attorneys and professionals for various matters.



                               [Remainder of page intentionally left blank]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

 Dated: March 26, 2019                           Respectfully submitted,

                                                 /s/ Kristi Moody
                                                Name: Kristi Moody
                                                Title: Executive Vice President, General
                                                         Counsel, and Corporate Secretary
                                                         Windstream Holdings, Inc.
